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                         EXHIBIT 6
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                                                                                                   United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                           ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                            July 08, 2024
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

                                                               )
    In re:                                                     )        Chapter 11
                                                               )
    GALLERIA 2425 OWNER, LLC,                                  )
                                                               )        Case No. 23-34815
                              Debtor.                          )
                                                               )

      ORDER (A) APPROVING ASSET PURCHASE AGREEMENT BETWEEN THE
     TRUSTEE AND QB LOOP PROPERTY LP; (B) APPROVING THE SALE OF THE
    PROPERTY FREE AND CLEAR OF ALL LIENS, CLAIMS, ENCUMBRANCES, AND
      OTHER INTERESTS; (C) APPROVING ASSUMPTION AND ASSIGNMENT OF
     EXECUTORY CONTRACTS AND LEASES; (D) DETERMINING THE AMOUNTS
      NECESSARY TO CURE SUCH EXECUTORY CONTRACTS AND UNEXPIRED
                 LEASES; AND (E) GRANTING RELATED RELIEF

                                   (Relating to ECF Nos. 188, 254, 266, 561)

             The Court having considered the Chapter 11 Trustee’s Motion for Entry of an Order: (I)

Approving Procedures for the Sale of the Property Free and Clear of All Liens, Claims and

Encumbrances; (II) Scheduling an Auction; (III) Authorizing Entry into the Stalking Horse

Purchase Agreement; (IV) Approving Assumption and Assignment Procedures; (V) Approving

Form of Notice; and (VI) Granting Related Relief [ECF No. 188] (the “Motion”),1 filed by

Christopher R. Murray, the chapter 11 trustee (the “Trustee”) in the above-captioned case (the

“Chapter 11 Case”), seeking, among other related relief, (i) approval of a procedures (the “Bid

Procedures”) for the conduct of a competitive auction (the “Auction”) of property of the Debtor’s

estate free and clear of all liens, claims, interests, and encumbrances, except for assumed liabilities

expressly retained by a successful bidder after the Auction, (ii) authorizing and approving the

assumption and assignment of proposed assumed executory contracts and unexpired leases subject



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    Capitalized terms used but not described in this Order have the meanings ascribed to them in the Motion.
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to the procedures set forth therein (the “Assumption and Assignment Procedures”), and (iii) setting

a hearing regarding a sale pursuant to such Auction and procedures; and the Court having entered

this Court’s prior order, dated April 5, 2024 [ECF No. 254] (the “Bid Procedures Order”), and QB

Loop Property LP, a Texas limited partnership (the “Buyer”) having submitted the highest or

otherwise best bid for the property located at 2425 West Loop South, Houston, Texas (the

“Property”) and related assets, as reflected in the Asset Purchase Agreement (as defined below);

and a hearing having been held on July 8, 2024 (the “Sale Hearing”) to consider approval of the

Asset Purchase Agreement and the transaction with the Buyer (the “Sale Transaction”); and the

Court having considered (i) the Motion and the exhibits thereto, (ii) the Asset Purchase Agreement,

dated as of July 2, 2024, by and between the Buyer and the Trustee (the “Asset Purchase

Agreement”), a copy of which is attached hereto as Exhibit A, whereby the Trustee has agreed,

subject to Court approval, among other things, to sell the property indicated therein (the

“Purchased Assets”) to the Buyer, including, without limitation, the Designated Assigned

Contracts (as defined herein) that will be assumed and assigned to the Buyer on the terms and

conditions set forth in the Asset Purchase Agreement and set forth herein, and (iii) the record of

all proceedings in the Chapter 11 Case; and it appearing that due and sufficient notice of the

Motion, the Asset Purchase Agreement, the Bid Procedures Order, and the form of this order (the

“Sale Order”) have been provided; and, except as otherwise provided for herein, all objections to

the Sale Transaction having been withdrawn, resolved, or overruled; and, after due deliberation

and for the reasons set forth on the record of the Sale Hearing, it appearing that the relief granted

herein is in the best interests of the Debtor’s estate; and good and sufficient cause appearing

therefor;




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       IT HEREBY IS FOUND AND DETERMINED THAT:

       A.          Fed. R. Bankr. P. 7052. The findings and conclusions set forth herein

constitute the Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052

made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent any of the

following findings of fact constitute conclusions of law, they are adopted as such. To the extent

any of the following conclusions of law constitute findings of fact, they are adopted as such. The

Court’s findings shall also include any oral findings of fact and conclusions of law made by the

Court during or at the conclusion of the Sale Hearing.

       B.          Jurisdiction and Venue. This Court has jurisdiction over the Motion, the Sale

Transaction, and over the property of the Debtor’s bankruptcy estate, including the Purchased

Assets, pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334(b), and the General Order 2012-6 of the U.S.

District Court for Southern District of Texas. This matter is a core proceeding pursuant to 28

U.S.C. § 157(b). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory and other

legal predicates for the relief sought in the Motion and granted herein include sections 105, 362,

363, and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, 9008, and 9014.

       C.          Final Order. This Sale Order constitutes a final order within the meaning of

28 U.S.C. § 158(a). The Trustee has demonstrated compelling circumstances and a good,

sufficient, and sound business purpose and justification for the immediate approval and

consummation of the Sale Transaction as contemplated by the Asset Purchase Agreement. In the

absence of a stay pending appeal, the Buyer, being a good faith purchaser under section 363(m) of

the Bankruptcy Code, may close the sale contemplated by the Asset Purchase Agreement at any

time after entry of this Sale Order, subject to the provisions of the Asset Purchase Agreement, and




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shall not be subject to any applicable stay, including any stay under Bankruptcy Rules 6004(h) and

6006(d).

        D.          Notice and Opportunity to Object. As evidenced by the certificates of service

on file with the Court, due, proper, timely, adequate, and sufficient notice and a reasonable

opportunity to object or be heard with respect to the Motion, the Sale Hearing, the Sale

Transaction, the Asset Purchase Agreement, the potential assumption and assignment of the

Potential Assigned Contracts (as defined below) and proposed Cure Amounts, and the

identification or means of identification of the particular Designated Assigned Contracts (as

defined below) has been provided in accordance with the Bankruptcy Code, the Bankruptcy Rules,

and the Bid Procedures Order.

        E.          Property of Estate. The Purchased Assets to be sold and assigned by the

Trustee to the Buyer pursuant to the Asset Purchase Agreement are property of the Debtor’s estate

and title thereto is vested in the Debtor’s estate.

        F.          Marketing Process. (i) The Trustee and his advisors engaged in a marketing

and sale process pursuant to the Bid Procedures Order and the Bid Procedures that was sufficient

under the circumstances; (ii) the Trustee and his advisors conducted a fair and open sale process;

(iii) the sale process and the Bid Procedures were non-collusive and duly noticed and provided a

full, fair and reasonable opportunity for any entity to make an offer to purchase the Purchased

Assets; and (iv) the process conducted by the Trustee pursuant to the Bid Procedures Order and

the Bid Procedures was reasonably calculated to obtain the highest or otherwise best value for the

Purchased Assets obtainable under the circumstances.

        G.          Auction. The Auction occurred on June 21, 2024, in accordance with the Bid

Procedures Order.     The Auction was properly conducted in a manner designed to result in the




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highest or otherwise best offer for the Purchased Assets. At the Auction, the Trustee agreed in an

exercise of his business judgment, in consultation with his professionals and advisors, to enter and

consummate the Asset Purchase Agreement. At the conclusion of the Auction, the Trustee

announced that he had determined that the offer submitted by the Buyer was the highest and best

offer, and that the Buyer was the Successful Bidder in accordance with the Bid Procedures Order.

       H.          Corporate Authority. Subject to this Order, the Trustee will have all necessary

power and authority to (i) execute and deliver the Asset Purchase Agreement and all other

documents contemplated thereby, (ii) consummate the Sale Transaction, and (iii) execute any

document necessary or appropriate to effectuate the Sale Transaction. No consents or approvals,

other than those expressly provided for in the Asset Purchase Agreement, are required for the

Trustee to consummate the Sale Transaction on behalf of the Debtor’s bankruptcy estate.

       I.          Business Justification. The Trustee has demonstrated good, sufficient, and

sound business purposes and justifications for approval of and entry into the Asset Purchase

Agreement and the other agreements, documents, and instruments deliverable thereunder, pursuant

to section 363(b) of the Bankruptcy Code.

       J.      Highest and Otherwise Best Offer. Pursuant to the Asset Purchase Agreement,

the Buyer has offered to purchase the Purchased Assets in exchange for (i) $27,250,000 in cash

and (ii) the assumption of all Assumed Liabilities. The consideration to be provided by the Buyer

pursuant to the Asset Purchase Agreement: (i) is fair and reasonable; (ii) is the highest and

otherwise best offer for the Purchased Assets received at the Auction; and (iii) constitutes

reasonably equivalent value and fair consideration for the Purchased Assets. No other person,

entity, or group of entities has offered to purchase the Purchased Assets for greater economic value

to the Debtor’s estate than the Buyer. The Trustee’s determination that the Asset Purchase




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Agreement constitutes the highest and best offer likely obtainable for the Purchased Assets was a

valid, sound, and reasonable exercise of the Trustee’s business judgment consistent with his

fiduciary duties. The terms and conditions set forth in the Asset Purchase Agreement are fair and

reasonable under the circumstances. The Asset Purchase Agreement was not entered into by the

Buyer or the Trustee for the purpose of, nor does it have the effect of, hindering, delaying, or

defrauding any creditor of the Debtor under any of the foregoing federal or state laws or any other

applicable laws.

       K.          Good Faith Purchaser. The Asset Purchase Agreement and the Sale

Transaction were proposed, negotiated, and entered into by and among the Trustee and the Buyer

without collusion or fraud, in good faith, and at arm’s length. The Buyer is a good faith purchaser

within the meaning of Bankruptcy Code section 363(m) and is therefore entitled to the full

protection of that provision with respect to the Asset Purchase Agreement, the Sale Transaction,

each term of the Asset Purchase Agreement (and any ancillary documents executed in connection

therewith) and each term of this Sale Order. The protections afforded by Bankruptcy Code section

363(m) are integral to the Sale Transaction and the Buyer would not consummate the Sale

Transaction without such protections. There has been no showing that the Trustee or the Buyer

have engaged in any action or inaction that would cause or permit the Asset Purchase Agreement

or the Sale Transaction to be avoided or any costs or damages to be imposed under Bankruptcy

Code section 363(n). Neither the Buyer, nor any of its affiliates, members, controlling partners,

officers, directors, principals, or shareholders is an “insider” of the Debtor as that term is defined

in Bankruptcy Code section 101(31). No common identity of directors, managers, controlling

partners, shareholders, or members exists between the Debtor and the Buyer.




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       L.          Validity of the Transfer. As of the closing of the Sale Transaction (the

“Closing”), the transfer of Purchased Assets to the Buyer will be a legal, valid, and effective

transfer of such Purchased Assets, and will vest the Buyer with all right, title, and interest of the

Debtor and the Debtor’s estate in and to the Purchased Assets, free and clear of all liens, claims,

encumbrances, and other interests. The consummation of the Sale Transaction is legal, valid, and

properly authorized under all applicable provisions of the Bankruptcy Code, including, sections

105(a), 363(b), 363(f), 363(h), 365(f), and 365(m), and all of the applicable requirements of such

sections have been complied with in respect of the Sale Transaction.

       M.          Legal, Valid, and Binding Transfer. The Asset Purchase Agreement is a valid

and binding contract between the Trustee, on behalf of the Debtor’s bankruptcy estate, and the

Buyer and shall be enforceable pursuant to its terms. The Asset Purchase Agreement, the Sale

Transaction, and the consummation thereof shall be specifically enforceable against and binding

upon (without posting any bond) the Trustee, any successor trustee appointed, the Debtor, 2425

WL LLC, and Ali Choudhri, and shall not be subject to rejection or avoidance by the foregoing

parties or any other person.

       N.          Free and Clear. The Buyer would not have entered into the Asset Purchase

Agreement and would not consummate the Sale Transaction if the transfer of the Purchased Assets

to the Buyer and the assumption and assignment of the Designated Assigned Contracts to the Buyer

were not free and clear of all liens, claims, encumbrances and other interests, as provided for

herein, or if the Buyer would, or in the future could, be liable for any such claims. Subject to the

provisions of this Sale Order and except as may be specifically provided in the Asset Purchase

Agreement or this Sale Order, the Trustee’s sale of the Purchased Assets shall be free and clear of

any and all interests, including all liens, claims, and encumbrances, because, in each case, one or




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more of the standards set forth in sections 363(f)(1) through (5) of the Bankruptcy Code have been

satisfied. Each entity with an interest, including any lien, claim, or encumbrance, in the Purchased

Assets to be transferred on the Closing Date: (i) has, subject to the terms and conditions of this

Sale Order, consented to the Sale Transaction or is deemed to have consented to the extent that

they did not object; (ii) could be compelled in a legal or equitable proceeding to accept money

satisfaction of such lien, claim, interest, or encumbrance; or (iii) otherwise falls within the

provisions of Bankruptcy Code section 363(f). Except to the extent expressly set forth in the Asset

Purchase Agreement, this Sale Order is and shall be effective on the date of the Closing (the

“Closing Date”) as a determination that all liens, claims, encumbrances, and other interests of any

kind or nature whatsoever existing as to the Purchased Assets prior to the Closing Date have been

unconditionally released, discharged, and terminated, in each case to the fullest extent permitted

by law, and that the conveyances described herein have been effected; provided that such liens,

claims, encumbrances, and other interests shall attach to the proceeds of the Sale Transaction in

the order of their priority, with the same validity, force, and effect which they now have against

the Purchased Assets. Except to the extent expressly set forth in the Asset Purchase Agreement,

the Buyer shall not be responsible for any liens, claims, encumbrances, and other interests,

including any derivative, successor, transferee, or vicarious liability as a result of the transactions

authorized herein, including liabilities on account of any taxes arising, accruing, or payable under,

out of, in connection with, or in any way relating to the operation of Debtor’s business or

administration of the bankruptcy estate prior to the Closing or by reason of the transactions

contemplated by this Sale Order on account of the Sale Transaction. Upon the Closing Date, all

persons having liens of any kind or nature whatsoever against the Purchased Assets arising prior

to the Closing Date shall be forever barred, estopped, and permanently enjoined from pursuing or




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asserting such liens against the Buyer or any of its respective assets, property, affiliates, successors,

assigns, or the Purchased Assets.

        O.          Not a Sub Rosa Plan. The Asset Purchase Agreement and Sale Transaction do

not constitute an impermissible sub rosa chapter 11 plan for which approval has been sought

without the protections that a disclosure statement would afford. The Asset Purchase Agreement

and the Sale Transaction neither impermissibly restructure the rights of the Debtor’s creditors nor

impermissibly dictate a liquidating plan for the Debtor.

        P.          No Successor, Derivative, or Similar Liability. The Buyer (i) is not, and shall

not be, considered a successor in interest to the Debtor, (ii) has not, de facto or otherwise, merged

or consolidated with or into the Debtor, (iii) is not a continuation or substantial continuation of the

Debtor or any enterprise of the Debtor, and (iv) is not holding itself out to the public as a

continuation of the Debtor. There is no continuity or common identity between the Buyer, any of

its affiliates, and the Debtor. The sale and transfer of the Purchased Assets to the Buyer, including

the assumption by the Trustee and assignment, transfer, and/or sale to the Buyer and the Buyer’s

occupation and use of the Purchased Assets will not subject the Buyer to any liability (including

any successor liability) with respect to the operation of any of the Debtor’s business before Closing

or by reason of such transfer, except that, upon the Closing, the Buyer shall become liable for the

applicable Assumed Liabilities. Buyer shall have no obligations with respect to any liabilities of

the Debtor or the Debtor’s estate arising out of or related to the Purchased Assets, except as

expressly provided in the Asset Purchase Agreement. The Sale Transaction contemplated under

the Asset Purchase Agreement does not amount to a consolidation, merger or de facto merger of

the Buyer and the Debtor and/or the Debtor’s estate. The Buyer would not have acquired the

Purchased Assets if it were liable for claims based upon “successor liability” theories.




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       Q.          Cure Amounts. As evidenced by the certificates of service filed with this

Court, and in accordance with the provisions of the Bid Procedures Order, the Trustee has served

notice upon each non-Debtor counterparty to contracts and leases the Trustee potentially would

assume and assign (the “Potential Assigned Contracts”) the procedures for determining issues

surrounding the assumption and assignment of the Potential Assigned Contracts (the “Notice of

Assumption and Assignment Procedures”) and the proposed Cure Amounts upon each non-Debtor

counterparty to the Contracts and Leases (the “Contract & Cure Schedule”). The service of the

Notice of Assumption and Assignment Procedures and Contract & Cure Schedule was timely,

good, sufficient, and appropriate under the circumstances and no other or further notice need be

given with respect to the Cure Amounts for the assumption and assignment of the Potential

Assigned Contracts. All non-debtor parties to the Potential Assigned Contracts have had a

reasonable opportunity to object both to the Cure Amounts listed on the Contract & Cure Schedule

and to the assumption and assignment of the Potential Assigned Contracts to the Buyer.

       R.      Assumption and Assignment of Assigned Contracts. The assumption and

assignment of the Potential Assigned Contracts designated by the Buyer (including those

designated after the entry of this Sale Order, the “Designated Assigned Contracts”) is an integral

element of the Asset Purchase Agreement, is in the best interests of the Debtor’s estate, and

represents the reasonable exercise of the Trustee’s sound business judgment. No defaults exist in

the Debtor or Trustee’s performance under the Designated Assigned Contracts as of the date of

this Sale Order other than the failure to pay the applicable Cure Amounts, as may be required, or

such defaults that are not required to be cured. In addition, the Buyer has provided adequate

assurance of its ability to perform its obligations under each of the Assigned Contracts within the

meaning of section 365 of the Bankruptcy Code. The assumption and assignment of the Designated




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Assigned Contracts, subject to the conditions in the Asset Purchase Agreement, is integral to the

Asset Purchase Agreement, is in the best interests of the Debtor’s estate and creditors, and

represents the valid and reasonable exercise of the Trustee’s sound business judgment.

Specifically, the assumption and assignment of the Designated Assigned Contracts (i) is necessary

to sell the Purchased Assets to the Buyer, (ii) limits the losses suffered by counterparties to the

Designated Assigned Contracts, and (iii) maximizes value for all of the stakeholders in the Chapter

11 Case by limiting the amount of claims against the Debtor’s estate that would otherwise arise

from the rejection of the Designated Assigned Contracts or sale free and clear of such interests.

The Trustee has met all applicable requirements of section 365(b) of the Bankruptcy Code and the

Bid Procedures Order and all other requirements and conditions under the Bankruptcy Code for

the assumption and assignment to the Buyer of the Designated Assigned Contracts. Therefore, the

Designated Assigned Contracts may be assumed by the Trustee and assigned to the Buyer. The

assumption and assignment of each Designated Assigned Contract is approved notwithstanding

any provisions in such Designated Assigned Contract or other restrictions prohibiting its

assignment or transfer.

       S.          Prompt Consummation.           The Sale Transaction must be approved and

consummated promptly in order to maximize value for the Debtor’s estate. Time is of the essence

in consummating the Sale Transaction. The Trustee has demonstrated compelling circumstances

and good and sufficient cause for the immediate approval and consummation of the transactions

contemplated by the Asset Purchase Agreement, including, without limitation, the Sale

Transaction and the assumption and assignment of the Designated Assigned Contracts.

Accordingly, there is sufficient cause to waive the stay contemplated by Bankruptcy Rules 6004(h)

and 6006(d) with regard to the transactions contemplated by this Sale Order.




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        T.          Legal and Factual Bases. The legal and factual bases set forth in the Motion

and herein establish just cause for the relief granted herein.

        U.          Necessity of Sale Order. The Buyer would not consummate the transactions

without all of the relief provided for in this Sale Order.

        THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

        1.         The Motion is GRANTED as set forth herein.

        2.         Any objections, responses, or reservations of rights filed or asserted in response

to the Motion and the relief granted herein, to the extent not resolved as set forth herein, settled,

or waived as announced to the Court on the record at the Sale Hearing, are hereby overruled on

the merits in their entirety.

                            Approval of the Asset Purchase Agreement
        3.         The Asset Purchase Agreement with the Buyer, including all of its terms and

conditions, all schedules and exhibits, all ancillary documents, and all transactions contemplated

therein, including, without limitation, the Sale Transaction, and the assumption and assignment of

the Designated Assigned Contracts, are hereby approved in all respects.

        4.         Pursuant to sections 105, 363 and 365 of the Bankruptcy Code, the Trustee is

authorized and empowered to (i) execute, deliver, perform under, consummate, and implement the

Asset Purchase Agreement and the Sale Transaction together with all additional documents as may

be reasonably necessary or desirable to implement the Asset Purchase Agreement and the Sale

Transaction, (ii) take any and all actions as he deems necessary, appropriate, or advisable for the

purpose of assigning, transferring, granting, conveying, and conferring to the Buyer or as may be

necessary or appropriate to the performance of the obligations as contemplated by the Asset

Purchase Agreement and the Sale Transaction, including, without limitation, any and all actions

reasonably requested by the Buyer that are consistent with this Sale Order, the Asset Purchase


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Agreement, and the Sale Transaction, and (iii) pay, without further order of this Court, whether

before, at or after the Closing Date, any expenses or costs that are required or reasonably

contemplated to be paid by the Trustee in order to consummate the transactions contemplated by

the Asset Purchase Agreement or perform the obligations under the Asset Purchase Agreement.

                       Transfer of the Purchased Assets Free and Clear
       5.         Pursuant to sections 105(a), 363(f), and 365(b) of the Bankruptcy Code, upon

the Closing of the Sale Transaction: (i) the transfer of the Purchased Assets to the Buyer pursuant

to the Asset Purchase Agreement shall constitute a legal, valid, and effective transfer of the

Purchased Assets and shall vest the Buyer with all right, title, and interest in and to the Purchased

Assets; and (ii) the Purchased Assets shall be transferred to the Buyer free and clear of any and all

interests, including all liens, claims, and encumbrances, except those specifically assumed by the

Buyer pursuant to the Asset Purchase Agreement, with any such liens, claims, encumbrances, and

other interests of which the Purchased Assets are sold free and clear to attach to the proceeds of

the Sale Transaction, in the order of their priority, with the same validity, force, and effect which

they had against the Purchased Assets prior to the entry of this Sale Order and the Closing, subject

to any rights, claims, and defenses the Debtor, its estate, and all interested parties may possess

with respect thereto; and all persons are forever prohibited and enjoined from commencing or

continuing in any manner any action or other proceeding, whether in law or equity, against the

Buyer or the Purchased Assets with respect to any such liens, claims, encumbrances, and other

interests. Accordingly, the Buyer shall not have any derivative, successor, transferee, or vicarious

liability as a result of the transactions authorized herein, including liabilities on account of any

taxes arising, accruing, or payable under, out of, in connection with, or in any way relating to the

operation of the Debtor’s business prior to the Closing or by reason of the transactions

contemplated by this Sale Order.


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         6.         In accordance with the Asset Purchase Agreement, any property tax debt or ad

valorem tax debt assessed with respect to the Purchased Assets for the taxable period that begins

prior to the Closing Date and ends after the Closing Date shall be prorated between the Debtor’s

estate and the Buyer based on the number of full days in such period that occur before the Closing

Date, on the one hand, and the number of days in such period that occur on or after the Closing

Date, on the other hand. As set forth above, the Buyer shall not have any liability for the property

tax debt or ad valorem tax debt accrued prior to the Closing Date.

         7.         On the Closing Date, this Sale Order shall be construed and shall constitute for

any and all purposes a legal, valid, binding, and effective, full, and complete general assignment,

conveyance, and transfer of the interests of the Debtor and the Debtor’s estate in the Purchased

Assets, warranty deed and/or a bill of sale transferring good and marketable title in and to the

Purchased Assets.

         8.         The Trustee is authorized to execute any documents or instruments on behalf of

the Debtor necessary or appropriate to effectuate the Sale Transaction contemplated by this Sale

Order.

         9.         This Sale Order is and shall be effective as a determination that all liens, claims,

encumbrances, and other interests (other than those expressly assumed by the Buyer or permitted

to survive under the Asset Purchase Agreement), attributable to any period ending on or before the

Closing Date, shall be and are, without further action by any person or entity, unconditionally

released, discharged, and terminated with respect to the Purchased Assets as of the Closing Date,

except as may otherwise be set forth in the Asset Purchase Agreement or this Sale Order. The

provisions of this Sale Order authorizing the sale and assignment of the Purchased Assets free and

clear of all liens, claims, encumbrances, and other interests shall be self-executing, and




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notwithstanding the failure of the Debtor, the Trustee, the Buyer, or any other party to execute,

file, or obtain releases, termination statements, assignments, consents, or other instruments to

effectuate, consummate, and/or implement the provisions hereof, all liens, claims, encumbrances,

and other interests (other than those expressly assumed by the Buyer or permitted to survive under

the Asset Purchase Agreement) on or against the Purchased Assets, if any, shall be deemed

released, discharged, and terminated.

       10.         All persons (and their respective successors and assigns) including all debt

security holders, equity security holders, governmental tax and regulatory authorities, lenders,

customers, vendors, employees, former employees, litigation claimants, trade creditors, and any

other creditors or parties-in-interest who may or do hold claims against the Debtor, the Purchased

Assets, the Debtor’s business, and/or the Debtor’s estate, are hereby forever barred, estopped, and

permanently enjoined from asserting or pursuing such claims against the Buyer, its affiliates,

successors, assigns, its property, or the Purchased Assets, including taking any of the following

actions with respect to any such claims: (i) commencing or continuing in any manner any action,

whether at law or in equity, in any judicial, administrative, arbitral, or any other proceeding, against

the Buyer, its affiliates, successors, assigns, assets (including the Purchased Assets), or properties;

(ii) enforcing, attaching, collecting, or recovering in any manner any judgment, award, decree, or

order against the Buyer, its affiliates, successors, assigns, assets (including the Purchased Assets),

or properties; (iii) creating, perfecting, or enforcing any claim against the Buyer, its affiliates,

successors, assigns, assets (including the Purchased Assets), or properties; (iv) asserting a claim

as a setoff, recoupment, or right of subrogation against any obligation due to the Buyer, its

affiliates, or its successors or assigns; or (v) commencing or continuing any action in any manner

or place that does not comply, or is inconsistent, with the provisions of this Sale Order or the




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agreements or actions contemplated or taken in respect thereof. Following the Closing, no holder

of any lien, claim, encumbrance, or other interest shall interfere with the Buyer’s title to or use and

enjoyment of the Purchased Assets based on or related to any such lien, claim, encumbrance, or

other interest or based on any action the Debtor, Trustee, or Buyer may take prior to the Closing.

       11.         Except as otherwise provided herein or in the Asset Purchase Agreement, on the

Closing Date, the Trustee, the Debtor, and the Debtor’s creditors are authorized to execute such

documents and instruments and to take all other actions as may be reasonably necessary to

document and effectuate the release of their liens, claims, encumbrances, and other interests in the

Purchased Assets (other than those expressly assumed by the Buyer or permitted to survive under

the Asset Purchase Agreement), if any, as such liens, claims, encumbrances, and other interests,

may have been recorded or may otherwise exist. If any such creditor fails to execute any such

documents or instruments or take any such actions, the Buyer is authorized to execute such

documents and instruments and to take such actions on behalf of the creditor so as to document

the release of such liens, claims, encumbrances, and other interests.

       12.         To the maximum extent permitted under applicable law, the Buyer shall be

authorized, as of the Closing Date, to operate under any license, permit, registration and

governmental authorization or approval of the Debtor (to the extent of the Debtor’s right, title and

interest therein) with respect to the Purchased Assets, and all such licenses, permits, registrations

and governmental authorizations and approvals are deemed to have been, and hereby are, directed

to be transferred to the Buyer with respect to the Purchased Assets as of the Closing Date.

       13.         No governmental unit (as defined in Bankruptcy Code section 101(27)) or any

representative thereof may deny, revoke, suspend or refuse to renew any right, license, copyright,

patent, trademark, or other permission or similar grant relating to the operation of the Purchased




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Assets on account of the filing or pendency of the Chapter 11 Case or the consummation of the

Sale Transaction to the extent that any such action by a governmental unit or any representative

thereof would violate Bankruptcy Code section 525.

                              Good Faith; Arm’s-Length Sale

       14.        The consideration provided by the Buyer under the Asset Purchase Agreement

constitutes reasonably equivalent value, fair consideration, and fair value for the Purchased Assets

under the Asset Purchase Agreement under the Bankruptcy Code, the Uniform Fraudulent Transfer

Act, the Uniform Fraudulent Conveyance Act, and any other applicable law and may not be

avoided under section 363(n) of the Bankruptcy Code or any other applicable law. Neither the

Trustee nor the Buyer has engaged in any conduct that would cause or permit the Asset Purchase

Agreement or the Sale Transaction to be avoided, or costs or damages to be imposed, under section

363(n) of the Bankruptcy Code. The Asset Purchase Agreement was not entered into, and the Sale

Transaction is not being consummated, for the purpose of hindering, delaying or defrauding

creditors of the Debtor under the Bankruptcy Code, or any other applicable laws. Neither the

Trustee nor the Buyer has entered into the Asset Purchase Agreement or is consummating the Sale

Transaction with any fraudulent or otherwise improper purpose.

       15.        The Asset Purchase Agreement and the Sale Transaction are undertaken by the

Buyer without collusion and in good faith, as that term is used in section 363(m) of the Bankruptcy

Code and, accordingly, the reversal or modification on appeal of the authorization provided herein

to consummate the Asset Purchase Agreement and the Sale Transaction shall not affect the validity

of the sale of the Purchased Assets to the Buyer, unless this Sale Order is duly stayed pending such

appeal. The Buyer is a good faith Buyer of the Purchased Assets and is entitled to all of the benefits

and protections afforded by section 363(m) of the Bankruptcy Code.



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                            Assumption and Assignment Procedures
       16.         Pursuant to sections 105(a), 363, and 365, of the Bankruptcy Code, the Trustee

is authorized to assume the Designated Assigned Contracts (if any) designated for assumption and

assignment in accordance with the Asset Purchase Agreement, pay or cause to be paid the Cure

Amount for the Designated Assigned Contracts from the proceeds of the Sale Transaction, and

assign the Designated Assigned Contracts to the Buyer, free and clear of all claims, liens,

encumbrances, and other interests of any kind or nature whatsoever, provided that any contracts

with RGN-MCA7387, RGN-MCA7386, 2425 West Loop, LLC, Jetall Companies, Inc. and/or

Dayhome River Oaks, LLC shall not be assumed or assigned absent further order of the Court, and

notwithstanding the language contained herein, all of the rights of RGN-MCA7387, RGN-

MCA7386, and 2425 West Loop, LLC are reserved. The Buyer may designate additional

Designated Assigned Contracts or remove any Designated Assigned Contracts up to thirty (30)

days after the Closing in cooperation (a) with the Trustee if the Closing occurs prior to the effective

date of a plan of reorganization or liquidation and (b) the plan proponent if the Closing occurs on

or after the effective date of a plan of reorganization or liquidation. A final schedule of the

Designated Assigned Contracts (the “Final Schedule of Contracts/Leases”) shall be filed with the

Court no later than thirty (30) days after the Closing.

       17.         Subject to and conditioned upon the closing of the Sale Transaction, and subject

to the designation rights and procedures contained in this Sale Order, the Bid Procedures Order,

the Asset Purchase Agreement, and any confirmed plan of reorganization or liquidation, the

Trustee shall pay the undisputed portion of the Cure Amounts for the Designated Assigned

Contracts within three (3) business days of the filing of the Final Schedule of Contracts/Leases

from the proceeds of the Sale Transaction in the amounts determined pursuant to the Assumption

and Assignment Procedures, without the need for further order of the Court.


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       18.        The Buyer has provided adequate assurance of future performance under the

Assigned Contracts within the meaning of section 365 of the Bankruptcy Code.

       19.        The Designated Assigned Contracts, consistent with the provisions contained

herein, shall be transferred to, and remain in full force and effect for the benefit of, the Buyer in

accordance with their respective terms, notwithstanding any provision in any such Designated

Assigned Contract (including those of the type described in section 365(b)(2) of the Bankruptcy

Code) that prohibits, restricts, or conditions such assignment or transfer and, pursuant to section

365(k) of the Bankruptcy Code, effective upon the Closing and the Trustee and the Debtor’s estate

shall be relieved from any post-Closing liability with respect to the Designated Assigned Contracts

after such assignment to the Buyer. No sections or provisions of any Designed Assigned Contract

that purport to provide for additional payments, penalties, charges, or other financial

accommodations in favor of the non-debtor counterparty to the Designated Assigned Contracts

shall have any force or effect with respect to the Sale Transaction and assignments authorized by

this Sale Order. Such provisions constitute unenforceable anti-assignment provisions under section

365(f) of the Bankruptcy Code and are otherwise unenforceable under section 365(e) of the

Bankruptcy Code. There shall be no accelerations, assignment fees, increases, or any other fees

charged to the Buyer, the Trustee, or the Debtor’s estate as a result of the assumption or assignment

of Designated Assigned Contracts, the Sale Transaction, or the commencement of this Chapter 11

Case. No Designated Assigned Contract may be terminated, or the rights of any party modified in

any respect, including pursuant to any “change of control” clause, by any other party thereto, as a

result of the transactions contemplated by the Asset Purchase Agreement.

       20.        All defaults or other obligations of the Debtor or the Debtor’s estate under the

Designated Assigned Contracts arising or accruing prior to the Closing (without giving effect to




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any acceleration clauses or any default provisions of the kind specified in section 365(b)(2) of the

Bankruptcy Code) shall be deemed cured, upon payment of the Cure Amount for the Designated

Assigned Contracts, and in no event shall the Buyer, the Trustee, the Debtor, or the Debtor’s estate

have any liability whatsoever under any Designated Assigned Contract arising from or related to

the time period prior to the Closing Date. The non-debtor counterparties to the Designated

Assigned Contracts are forever barred and permanently enjoined from asserting against the

Trustee, the Debtor, the Debtor’s estate, the Buyer, and their respective successors and assigns,

any default or unpaid obligation allegedly arising or occurring before the Closing, any pecuniary

loss resulting from such default, or any other claim or obligation under the Designated Assigned

Contracts arising or incurred prior to the Closing, other than the Cure Amounts for the Designated

Assigned Contracts. The Cure Amounts shall not be subject to further dispute or audit, including,

without limitation, any audit based on performance prior to the Closing Date, irrespective of

whether such Designated Assigned Contract contains an audit clause. After the payment of the

applicable Cure Amounts, none of the Debtor, the Debtor’s estate, the Trustee, or the Buyer shall

have any further liabilities to the counterparties to the Designated Assigned Contracts other than

the Buyer’s obligations under the Designated Assigned Contracts that accrue and become due and

payable on or after the Closing Date.

       21.        In the event of a dispute pending as of the Closing regarding the assumption and

assignment or cure of any Designated Assigned Contract, any applicable cure payments with

respect to such Designated Assigned Contract shall be made following the entry of an order

resolving any such dispute (or upon the consensual resolution of such dispute as may be agreed by

the Trustee and such non-Debtor counterparty).




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       22.        The failure of the Debtor, Trustee, or the Buyer to enforce, at any time, one or

more terms or conditions of any Designated Assigned Contract shall not be a waiver of such terms

or conditions or of the right of the Debtor, the Trustee, or the Buyer, as the case may be, to enforce

every term and condition of the Designated Assigned Contracts. The validity of the assumption

and assignment of the Designated Assigned Contracts to the Buyer shall not be affected by any

existing dispute between the Debtor or the Trustee and any non-debtor counterparty to such

Designated Assigned Contract. Any party that may have had the right to consent to the assignment

of any Designated Assigned Contract is deemed to have consented for the purposes of section 365

of the Bankruptcy Code and otherwise if such party failed to file a timely objection to the

assumption and assignment of such Designated Assigned Contract.

       23.        To the extent a non-debtor counterparty to a Potential Assigned Contract failed

to timely object to the Cure Amount, (i) such Cure Amount shall be deemed to be finally

determined and any such counterparty shall be prohibited from challenging, objecting to, or

denying the validity and finality of the Cure Amount at any time, and (ii) such counterparty shall

be deemed to have consented to such assignment under section 365(c)(1)(B) of the Bankruptcy

Code, and if designated by the Buyer for assumption and assignment, the Buyer shall enjoy all of

the Debtor’s rights and benefits under each such Designated Assigned Contract as of the applicable

date of assumption without the necessity of obtaining such non-debtor party’s written consent to

the assumption or assignment thereof.

                                  Ipso Facto Clauses Ineffective
       24.        Except as otherwise specifically provided for by order of this Court, the

Designated Assigned Contracts shall be transferred to, and remain in full force and effect for the

benefit of, the Buyer in accordance with their respective terms, including all rights of the Buyer as

the assignee of the Designated Assigned Contracts, notwithstanding any provision in any such


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Designated Assigned Contracts (including, without limitation, those of the type described in

sections 365(e)(1) and (f) of the Bankruptcy Code) that prohibits, restricts, or conditions such

assignment or transfer. There shall be no, and all non-Debtor parties to any Designated Assigned

Contract are forever barred and permanently enjoined from raising or asserting against the Debtor,

the Debtor’s estate, or the Buyer any defaults, breaches, claims, pecuniary losses, rent

accelerations, escalations, assignment fees, increases, or any other fees charged to the Buyer, the

Debtor, or the Debtor’s estate as a result of the assumption or assignment of the Designated

Assigned Contracts.

       25.         Except as otherwise specifically provided for by order of this Court, upon the

Trustee’s assignment of the Designated Assigned Contracts to the Buyer, no default shall exist

under any Designated Assigned Contracts, and no counterparty to any Designated Assigned

Contracts shall be permitted to declare a default by the Debtor, the Trustee, or the Buyer, or

otherwise take action against the Buyer, as a result of the Debtor’s financial condition, bankruptcy,

or failure to perform any of its obligations under the relevant Designated Assigned Contracts. Any

provision in a Designated Assigned Contract that prohibits or conditions the assignment of such

Assumed Contract in accordance with the Asset Purchase Agreement (including without

limitation, the granting of a lien therein) or allows the counterparty thereto to terminate, recapture,

set off, recoup, impose any penalty, condition on renewal or extension, or modify any term or

condition upon such assignment or sublease, constitutes an unenforceable anti-assignment

provision that is void and of no force and effect, but only in connection with the assignment of

such Designated Assigned Contract in connection with the sale to the Buyer approved by this Sale

Order. The failure of the Debtor, Trustee, or the Buyer to enforce at any time one or more terms

or conditions of any Designated Assigned Contract shall not be a waiver of such terms or




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conditions, or of the Trustee’s and the Buyer’s rights to enforce every term and condition of the

Designated Assigned Contract.

                                      No Successor Liability

       26.        The Buyer has given substantial consideration under the Asset Purchase

Agreement, which consideration shall constitute valid, valuable, and sufficient consideration for

the absolution from any potential claims of successor liability of the Buyer to the greatest extent

allowed by applicable law and neither the Buyer nor any of its affiliates shall be deemed to: (a) be

a legal successor, or otherwise deemed to be a successor, to the Debtor under any theory of law or

equity; (b) have, de facto or otherwise, merged with or into the Debtor or its estate; (c) have a

common identity or a continuity of enterprise with the Debtor; or (d) be a mere continuation or

substantial continuation, or be holding itself out as a mere continuation, of the Debtor or any

business, enterprise, or operation of the Debtor. Upon the Closing, to the maximum extent

available under applicable law, Buyer’s acquisition of the Purchased Assets owned by the Debtor

shall be free and clear of any “successor liability” claims and other types of transferee liability of

any nature whatsoever, whether known or unknown and whether asserted or unasserted at the time

of Closing (other than, to the extent applicable, any Assumed Liabilities). The operations of the

Buyer and its affiliates shall not be deemed a continuation of the Debtor’s business as a result of

the acquisition of the Purchased Assets.

       27.        Neither the purchase of the Purchased Assets by the Buyer nor the fact that the

Buyer is using any of the Purchased Assets previously operated by the Debtor will cause the Buyer

to be deemed a successor in any respect to the Debtor’s businesses or incur any liability derived

therefrom within the meaning of any foreign, federal, state or local revenue, pension, ERISA, tax,

labor, employment, environmental, or other law, rule or regulation (including filing requirements




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under any such laws, rules or regulations), or under any products liability law or doctrine with

respect to the Debtor’s liability under such law, rule or regulation or doctrine.

                                          Backup Bidder

         28.      If the Buyer fails to timely close the Sale Transaction pursuant to the Asset

Purchase Agreement as the result of Buyer’s default thereunder, the Trustee is authorized to sell

the Assets to the National Bank of Kuwait, S.A.K.P., New York Branch (the “Backup Bidder”)

for a credit bid amount totaling $27,000,000 and otherwise under the terms of Stalking Horse

Agreement and the Chapter 11 Plan of Liquidation of the Debtor by National Bank of Kuwait

S.A.K.P., New York Branch [ECF No. 194] (the “Plan”), as modified by the confirmation order

[ECF No. 566] (the “Confirmation Order”) entered by the Court.

         29.      The terms of this Sale Order shall apply in all respects to any sale of the Assets

to the Backup Bidder as if the Backup Bidder were the Buyer, except that, notwithstanding

anything to the contrary in this Sale Order, (a) the payments to holders of allowed claims shall be

made as set out in the Plan and Confirmation Order and (b) the Plan and Confirmation Order shall

control in the event of any inconsistency between this Sale Order and the Plan or Confirmation

Order.

                                Partial Disbursement of Proceeds

         30.      Within ten (10) days of the Closing of the Sale Transaction to the Successful

Bidder pursuant to this Order, the Trustee is authorized and directed to make from the cash

proceeds of the Sale Transaction (collectively, the “Directed Payoff Amounts” (a) any payments

ordered by the Court, including without limitation any order on the Application for Reimbursement

of Fees and Expenses Pursuant to 11 U.S.C. § 506(b) and Federal Rule of Bankruptcy Procedure

2016(a) [ECF No. 575] filed by CC2 TX, LLC, and (b) the following payments:




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          Creditor/Claimant             Claim No.     Amount July 2024      Amount August 2024
 City of Houston                                 1            $424,633.58            $427,856.20
 Houston I.S.D.                                  2            $781,803.68            $787,656.62
 Houston Comm. Coll. System                      3             $83,884.08            $427,856.20
 Harris County Taxing Authorities                4            $581,890.09            $587,709.00
 CC2 TX, LLC                                    12           $930,176.52            $937,978.20
                                                       + $325.07 per diem     + $325.07 per diem
 National Bank of Kuwait,                       13          $1,696,384.85          $1,696,384.85
 S.A.K.P., New York Branch

Payments to creditors as a Directed Payoff Amount shall not (x) limit the rights of any creditor to

receive the full amount due under applicable law or (y) preclude any party from pursuing claims

against a creditor receiving a Directed Payoff Amount, including any claims of Ali Choudhri

against the National Bank of Kuwait.

         31.        Subject to the agreement of the National Bank of Kuwait, S.A.K.P., New York

Branch, the Trustee is authorized but not directed to pay documented additional amounts necessary

to satisfy the secured claims of the creditors receiving the Directed Payoff Amounts, other than

the National Bank of Kuwait, comprising interest accrual and costs and expenses incurred prior to

Closing that are not reflected in the Directed Payoff Amounts (the “Authorized Payoff Amounts”).

The Authorized Payoff Amounts shall include, subject to the agreement of the National Bank of

Kuwait, S.A.K.P., late fees of CC2 TX, LLC in the amount of $479.76 per month from the Petition

Date.

         32.        For the avoidance of doubt, the Trustee may make the Directed Payoff Amounts

and Authorized Payoff Amounts simultaneously or contemporaneously with the Closing.

               Injunction Regarding Actions by Insiders Absent Leave of the Court

         33.        The Debtor, Mr. Choudhri, any entity owned or controlled directly or indirectly

by Mr. Choudhri, and any entity to which Mr. Choudhri is an insider as defined in Bankruptcy


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Code section 101(31) are barred and estopped from pursuing or asserting any lawsuit or other

action against the Buyer, the Trustee, or the forgoing’s professionals involving the Sale

Transaction, the Auction, or the sale process with respect to the Purchased Assets without first

obtaining leave of this Court.

                                       Other Related Relief
       34.        All persons that are in possession of some or all of the Purchased Assets as of

or after the Closing are hereby directed to surrender possession of such Purchased Assets to the

Buyer as of the Closing or at such time thereafter as the Buyer may request. All persons and entities

are prohibited and enjoined from taking any action to adversely affect or interfere with the ability

of the Trustee to transfer the Purchased Assets to the Buyer. The Trustee agrees to exercise

commercially reasonable efforts to assist the Buyer in assuring that all persons that are presently,

or on the date of the Closing may be, in possession of some or all of the Purchased Assets in which

the Debtor’s estate holds an interest will surrender possession of the Purchased Assets either to (i)

the Trustee before the Closing Date, or (ii) the Buyer on or after the date of the Closing.

       35.        This Sale Order is and shall be binding upon and shall govern acts of all entities

including, without limitation, all filing agents, filing officers, title agents, title companies,

recorders of mortgages, recorders of fees, registrars of deeds, administrative agencies,

governmental departments, secretaries of state, federal, state, and local officials, and all other

persons, who may be required by operation of law, the duties of their office, or contract, to accept,

file, register or otherwise record or release any documents or instruments that reflect that the Buyer

is the assignee and owner of the Purchased Assets free and clear of all liens, claims, encumbrances,

and other interests (other than those expressly assumed by the Buyer or permitted to survive under

the Asset Purchase Agreement) (all such entities being referred to as the “Recording Officers”).

All Recording Officers are authorized to strike recorded liens, claims, interests, and encumbrances


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against the Purchased Assets recorded prior to the date of this Sale Order unless the Asset Purchase

Agreement expressly provides that the Buyer is acquiring the Purchased Assets subject to such

liens, claims, encumbrances, and other interests. A certified copy of this Sale Order may be filed

with the appropriate clerk and/or recorded with the recorder to act to cancel any liens and other

encumbrances of record, and this Sale Order is deemed to be in recordable form sufficient to be

placed in the filing or recording system of each and every federal, state, or local government

agency, department, or office. If any person or entity which has filed statements or other documents

or agreements evidencing liens on, or other interests in, all or any portion of the Purchased Assets

shall not have delivered to the Trustee prior to the Closing, in proper form for filing and executed

by the appropriate parties, termination statements, instruments of satisfaction, releases of liens,

and any other documents necessary for the purpose of documenting the release of all liens, claims,

encumbrances, or other interests which the person or entity has or may assert with respect to all or

any portion of the Purchased Assets, the Trustee and Buyer are hereby authorized, on behalf of the

Debtor, the Debtor’s estate, and each of the Debtor’s creditors, to execute and file such statements,

instruments, releases, and other documents on behalf of such person or entity with respect to the

Purchased Assets, or take such other appropriate action, including seeking relief in this Court or

any other court to compel appropriate parties to execute termination statements, instruments of

satisfaction and releases of all such liens, claims, encumbrances, or other interests with respect to

the Purchased Assets. Each and every filing agent, filing officer, title agent, recording agency,

governmental department, secretary of state, federal, state and local official, and any other person

and entity who may be required by operation of law, the duties of its office or contract, to accept,

file, register, or otherwise record or release any documents or instruments or who may be required

to report or insure any title in or to the Purchased Assets, is hereby authorized and directed to




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accept any and all documents and instruments necessary and appropriate to consummate the Sale

Transaction contemplated by the Asset Purchase Agreement and approved by this Sale Order.

       36.         Following the Closing, no holder of any liens, claims, encumbrances, or other

interests with respect to the Purchased Assets (other than those expressly assumed by the Buyer or

permitted to survive under the Asset Purchase Agreement) or other party in interest may interfere

with the Buyer’s use and enjoyment of the Purchased Assets based on or related to such liens,

claims, encumbrances, or other interests, or any actions that the Debtor or the Trustee may take in

the Chapter 11 Case, and no party may take any action to prevent, interfere with, or otherwise

enjoin consummation of the Sale Transaction.

       37.         No “bulk sales,” “bulk transfer” or similar laws (including those relating to

taxes) of any state or other jurisdiction shall apply in any way to the transactions authorized herein,

including the Asset Purchase Agreement and the Sale Transaction.

       38.         The Buyer shall not be required to seek or obtain relief from the automatic stay

under section 362 of the Bankruptcy Code to enforce any of its remedies under the Asset Purchase

Agreement or any other related document. The automatic stay imposed by section 362 of the

Bankruptcy Code is modified solely to the extent necessary to implement the preceding sentence.

       39.         This Sale Order shall be binding in all respects upon the Debtor’s estate, all

claimants and creditors, all holders of equity interests in the Debtor, any holders of liens, claims,

encumbrances, or other interests against or on all or any portion of the Purchased Assets, all

counterparties to any executory contract or unexpired lease of the Debtor, the Buyer and its

affiliates, successors, and assigns, the Trustee, and any subsequently appointed estate

representative or other fiduciary in the Chapter 11 Case. The Asset Purchase Agreement, the Sale

Transaction, and this Sale Order shall be enforceable against and binding upon, and shall not be




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subject to rejection or avoidance by, any chapter 7 or successor chapter 11 trustee appointed in the

Chapter 11 Case. To the extent that anything contained in any plan of reorganization (or

liquidation) confirmed in the Chapter 11 Case or any order confirming any plan of reorganization

(or liquidation) or any other order entered in these Chapter 11 Case conflicts with or derogates

from the provisions of this Sale Order, this Sale Order shall control.

        40.       The Asset Purchase Agreement and any related agreements, documents, or other

instruments contemplated thereby may be waived, modified, amended, or supplemented by the

Trustee and the Buyer in a writing signed by such parties without further order of the Court;

provided that any such waiver, modification, amendment, or supplement does not have a material

adverse effect on the Debtor’s estate.

        41.       The failure to include specifically any particular provision of the Asset Purchase

Agreement in this Sale Order shall not diminish or impair the effectiveness of such provision, it

being the intent of the Court that the Asset Purchase Agreement be authorized and approved in its

entirety.

        42.       To the extent of any inconsistency between the provisions of this Sale Order, the

Asset Purchase Agreement, and any documents executed in connection therewith, the provisions

contained in this Sale Order, the Asset Purchase Agreement, and any documents executed in

connection therewith shall govern, in that order.

        43.       Notwithstanding the provisions of Bankruptcy Rule 6004(h) and 6006(d) or any

other applicable provision of the Bankruptcy Code or the Bankruptcy Rules that may stay the

effectiveness of this Sale Order, this Sale Order shall be effective and enforceable immediately

and shall not be stayed.




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       44.        The Trustee is authorized to take all actions necessary to effectuate the relief

granted in this Sale Order.

       45.        Without further approval of this Court, the Trustee and Buyer are authorized to

execute and deliver, and perform under, one or more amendments, waivers, consents or other

modifications to and under the Asset Purchase Agreement and ancillary documents, in each case,

in such form as the Trustee and Buyer may agree; provided that such amendment, waiver, consent,

or modification does not materially modify, in a manner adverse to the Debtor’s estate, the terms

of the Asset Purchase Agreement.

       46.        This Court retains jurisdiction and power to, among other things, interpret,

implement, and enforce the terms and provisions of this Sale Order, the Sale Transaction, and the

Asset Purchase Agreement, all amendments thereto and any waivers and consents thereunder, and

each of the agreements executed in connection therewith and the transactions contemplated

thereby.


Dated: ______________,
         July 08,04,
           April  2024  2024
                     2018
                                             __________________________________________
                                              UNITED STATES BANKRUPTCY JUDGE


Proposed Order Submitted By:

/s/R. J. Shannon                   .
Kyung S. Lee (TBA No. 12128400)
R. J. Shannon (TBA No. 24108062)
SHANNON & LEE LLP
2100 Travis Street, STE 1525
Houston, TX 77002
Telephone: (713) 714-5770
Facsimile: (833) 714-5770
Email: klee@shannonleellp.com
         rshannon@shannonleellp.com

Counsel to Christopher R. Murray, Chapter 11 Trustee



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                              EXHIBIT A

                        Asset Purchase Agreement
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                      ASSET PURCHASE AGREEMENT

                   DATED AS OF JULY 2, 2024, BETWEEN

Christopher R. Murray, in his capacity as the duly appointed Chapter 11 Trustee of
                     Galleria 2425 Owner, LLC, as Seller

                                      AND

               QB Loop Property LP, a Texas limited partnership
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                              ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is made and entered into
as of July 2, 2024 (the “Effective Date”) by and between Christopher R. Murray in his capacity as
the duly appointed Chapter 11 Trustee of Galleria 2425 Owner, LLC, a Delaware limited liability
company (the “Seller” or the “Chapter 11 Trustee”) and QB Loop Property LP, a Texas limited
partnership ( “Buyer” together with Seller, the “Parties” and each a “Party”).

       A.      WHEREAS, on December 5, 2023 (the “Petition Date”), the Galleria 2425
Owner, LLC (the “Debtor”) filed a voluntary petition under Chapter 11 of Title 11 of the United
States Code, 11 U.S.C. §§101, et seq. (“Bankruptcy Code”) in the United States Bankruptcy
Court for the Southern District of Texas, Houston Division (the “Bankruptcy Court”), initiating
Case No. 23-34815 (JPN) (the “Chapter 11 Case”).

      B.      WHEREAS, the Real Property and Personal Property are property of the
bankruptcy estate pursuant to 11 U.S.C. § 541 (the “Bankruptcy Estate”).

       C.     WHEREAS, on February 9, 2024, the Bankruptcy Court entered an order
appointing Christopher R. Murray as trustee of the Chapter 11 Case.

          D.   WHEREAS, the Chapter 11 Trustee is the sole representative of the Bankruptcy
Estate.

        E.      WHEREAS, after the Petition Date, the Chapter 11 Trustee sought authorization
from the Bankruptcy Court for approval of his entry into this Agreement and certain other matters
pertaining to the sale of the Real Property.

        F.     WHEREAS, notwithstanding any provisions herein to the contrary, Seller and
Buyer both acknowledge and agree that this Agreement is subject to the Bankruptcy Court’s final
authorization and approval, and upon such terms as the parties have agreed and as authorized by
the Bankruptcy Court, Seller desires to sell the Real Property, and Buyer desires to purchase the
Real Property and assume certain liabilities of the Bankruptcy Estate, in a sale pursuant to sections
105(a), 363, 1123 and/or 1129 of the Bankruptcy Code.

        NOW, THEREFORE, in consideration of the foregoing premises and the representations,
warranties, covenants and agreements contained herein and other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, the Parties hereby agree as follows:

                                           ARTICLE I
                                          DEFINITIONS

       1.      Terms and Incorporation of Definitions. All capitalized terms not otherwise
defined herein shall have the meanings ascribed to them in the Sale and Bid Procedures. Except as
otherwise specifically provided herein, the following terms shall have the meanings specified
below.
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        2.     Affiliate(s) as to any Person means any Persons (x) directly or indirectly
controlling, controlled by or under common control with any of the foregoing or (y) as to which
any of the foregoing act as trustee or beneficiary. For purposes of this definition, “control” of a
person shall mean the power, direct or indirect, to direct or cause the management and policies of
such person, whether by ownership of voting securities, by contract or otherwise.

       3.      Assigned Contracts has the meaning set forth in Article II.

       4.      Auction has the meaning set forth in the Sale and Bid Procedures.

        5.     Bankruptcy Contingencies means the occurrence of each of the following: (a) the
Sale and Bid Procedures Order shall have become a Final Order, (b) the Sale Order shall become
a Final Order, and (c) the Confirmation Order shall become a Final Order.

       6.      Business Day means any day, other than a Saturday, Sunday, or a legal holiday, as
defined in Rule 9006(a) of the Federal Rules of Bankruptcy Procedure.

       7.     Broker means Hilco Real Estate, LLC or other real estate broker employed by the
Chapter 11 Trustee in the Chapter 11 Case.

       8.       Broker Compensation means the compensation earned by the Broker by a sale
pursuant to this Agreement and any attendant expenses.

       9.      Cash Consideration means the cash paid by the Buyer at closing.

       10.     Closing has the meaning set forth in Article V.

       11.     Closing Date has the meaning set forth in Article V.

       12.    Confirmation Order means an order confirming a plan of reorganization in the
Chapter 11 Case that implements or incorporates by reference the transaction provided for by this
Agreement.

         13.    Cure Costs means, to the extent applicable, all Assumed Liabilities that must be
paid and obligations that must be satisfied under Sections 365 of the Bankruptcy Code, in
connection with the assumption by Seller and assignment to Buyer of any Assigned Contract. For
the avoidance of doubt, notwithstanding anything provided herein to the contrary, no provision
herein shall be construed as an admission or wavier as to the amount of any potential cure amount,
or as a representation that any assumption, rejection, or assignment within the meaning of Section
365 of the Bankruptcy Code has occurred; such assumptions, rejections, or assignments shall be
addressed by order of the Bankruptcy Court accordingly, to the extent applicable.

       14.     Deed means the Special Warranty Deed attached hereto as Exhibit B.

       15.     Environmental Audit means an environmental audit, review or testing of the Real
Property performed any third party or consultant engaged by Buyer to conduct such study.




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       16.    Environmental Law means any law, statute, ordinance or regulation pertaining to
health, industrial hygiene or the environment, including, without limitation, CERCLA
(Comprehensive Environmental Response, Compensation and Liability Act of 1980) and RCRA
(Resources Conservation and Recovery Act of 1976).

        17.     Exhibits means the following, each of which is attached hereto and incorporated
herein by this reference:

                       Exhibit A - Legal Description
                       Exhibit B - Form of Deed
                       Exhibit C - FIRPTA Affidavit
                       Exhibit D - Bill of Sale
                       Exhibit E - Assignment and Assumption
                       Exhibit F - Schedule of Assigned Contracts

        18.      Final Order means an order or judgment of the Court as entered on the docket in
the Chapter 11 Case, or other court of competent jurisdiction, the operation or effect of which has
not been stayed, reversed or amended, and as to which order or judgment (or any reversal,
modification or amendment thereof) the time to appeal or seek review or rehearing has expired
and as to which no appeal or petition for review or rehearing was filed or, if filed, remains pending;
provided, however, that the possibility that a motion under Rule 59 or Rule 60 of the Federal Rules
of Civil Procedure, or any analogous rule under the Bankruptcy Rules or applicable state court
rules of civil procedure, may be filed with respect to such order, shall not cause an order not to be
a Final Order.

        19.   FIRPTA Affidavit means the Transferor’s Certificate of Non-Foreign Status set
forth on Exhibit C attached hereto.

       20.    Governmental Authority means any federal, state, or local government,
governmental authority, or regulatory or administrative authority or any court, tribunal, or judicial
body having jurisdiction, including the Bankruptcy Court.

       21.     Hazardous Substance means any substance, material or waste which is or becomes
designated, classified or regulated as being “toxic” or “hazardous” or a “pollutant” or which is or
becomes similarly designated, classified or regulated under any Environmental Law.

        22.     Improvements means all improvements, buildings, fixtures, and structures, if any,
owned by Seller and situated on the Real Property, including, without limitation, all apparatus,
equipment and appliances used in connection with the operation or occupancy of the Real Property,
such as heating and air conditioning systems and facilities used to provide any utility, refrigeration,
ventilation, garbage disposal, or other services on the Real Property.

       23.     Knowledge of Seller means the actual knowledge of the Chapter 11 Trustee or his
counsel in the Chapter 11 Case.

       24.     Law(s) means all applicable federal, state and local statutes, ordinances and codes,
including the Bankruptcy Code.



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       25.     Leases means all leases, lease amendments, lease guaranties, work letter
agreements, subleases, assignments, licenses, concessions and similar agreements granting a real
property interest to any Person for the use or occupancy of any portion of the Real Property or the
Improvements.

        26.    Liability means any liability, debt, loss, damage, fine, judgment, penalty, or
obligation of any kind or nature, whether known or unknown, absolute or contingent, accrued or
unaccrued, liquidated or unliquidated, or due or to become due.

        27.      Permits means all building permits, certificates of occupancy, and other
certificates, permits, licenses and approvals pertaining to the Real Property.

        28.      Person means any natural person, corporation, general or limited partnership,
limited liability company, association, joint venture, trust, estate, Governmental Authority or other
legal entity, in each case whether in its own or a representative capacity.

       29.     Personal Property means (i) the equipment, furniture, and other tangible personal
property, if any, that are actually owned by Seller, located on the Real Property and used in the
operation of the Real Property, (ii) any insurance policies insuring the Real Property and/or
Personal Property owned by Seller or the Debtor, and (iii) any claim or cause of action related to
any such insurance policy against any insurance company that has insured the Real Property and/or
Personal Property.

      30.     Plan means the Chapter 11 Plan of Liquidation of the Debtor filed by the National
Bank of Kuwait, S.A.K.P., New York Branch, dated as of April 10, 2024, as such Plan may be
amended, supplemented or modified from time to time in accordance with the provisions of the
Bankruptcy Code and the Bankruptcy Rules, together with all addenda, exhibits, schedules,
supplements or other attachments thereto.

       31.    Property means, collectively, the (i) Real Property, (ii) Improvements, (iii)
Personal Property, (iv) Leases, (v) Service Contracts, and (vi) Permits.

       32.     Purchase Price has the meaning set forth in Article III.

       33.   Real Property means that certain real property located in Harris County, State of
Texas and more particularly described in Exhibit A attached hereto.

       34.     Sale has the meaning set forth in the Sale and Bid Procedures.

      35.    Sale and Bid Procedures means the Sale and Bid Procedures approved by the
Bankruptcy Court and attached as Exhibit 1 to the Sale and Bid Procedures Order.

        36.    Sale Procedures Motion means the Chapter 11 Trustee’s motion for entry of an
order from the Bankruptcy Court seeking (i) approval of the Sale and Bid Procedures for the sale
of the Real Property; (ii) scheduling the Auction; (iii) approving assumption and assignment
procedures; (iv) approving the form of notice; and (v) granting related relief.

        37.    Sale and Bid Procedures Order means an order of the Bankruptcy Court granting
the Sale and Bid Procedures Motion and approving the Sale and Bid Procedures.

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        38.    Sale Order means an order by the Bankruptcy Court authorizing the sale of the
Property to the Buyer free and clear of all liens, claims and encumbrances that are not Assumed
Liabilities under sections 363(b) and (f) of the Bankruptcy Code and finding that the Buyer is a
good faith purchaser of the Property entitled to the protections of section 363(m) of the Bankruptcy
Code. The Sale Order will be a standalone order and will not be dependent on the entry of any
confirmation order in the Chapter 11 Case.

       39.     Service Contracts means all service contracts and other contracts, agreements or
instruments relating to the operation of the Property including equipment leases and those set forth
on Exhibit F attached hereto.

        40.   Tax Lien Claims means claims secured by ad valorem tax liens under Chapter 32
of the Texas Tax Code, other than any such claims held by the Buyer.

       41.    Title Company means Fidelity National Title Insurance Company, 1900 West Loop
South, Suite 100, Houston, Texas 77027, Attn: Ms. Debbie Barela or the entity selected by the
Buyer and Seller to perform the role of title company under this Agreement.

                                         ARTICLE II
                                     PURCHASE AND SALE

        1.      Purchased Assets. Upon the terms and subject to the conditions of this Agreement,
Seller shall sell, convey, assign, transfer and deliver to Buyer, and Buyer shall purchase from
Seller, free and clear of all claims, liens, encumbrances to the extent allowed by Sections 105(a),
363, 1123 and/or 1129 of the Bankruptcy Code, all of Seller’s right, title and interest in and to:

                (a)    the Real Property;

                (b)    all Personal Property;

                (c)    all Improvements;

                (d)    all Permits that may be assigned by Seller to Buyer;

                (e)      to the extent assignable and transferrable and to the extent of any interest of
Seller therein, all site plans, architectural renderings, plans and specifications, engineering plans,
as-built drawings, floor plans, and other similar plans or diagrams, if any, which relate to the Real
Property; and

                (f)      all rights and interests of Seller in and to the Service Contracts and Leases
to which Seller is a party in support or furtherance of the operation of the Real Property indicated
by the Buyer (collectively, the “Assigned Contracts,” and each an “Assigned Contract”). The
items set for in (a)-(f) above, collectively, the “Purchased Assets.”

       2.     Retained Assets. The Purchased Assets shall not include any Service Contracts
and Leases that are not Assigned Contracts (collectively, the “Excluded Assets”).

      3.     Allocation of Liabilities. Upon the terms and subject to the conditions of this
Agreement, Buyer shall assume and agree to pay, perform and discharge only the Liabilities under

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    the Assigned Contracts, that pertain to the time period after Closing (collectively, the “Assumed
    Liabilities”). Other than the Assumed Liabilities, Buyer will not assume, expressly disclaims, and
    will not otherwise be responsible for any other Liabilities of Seller. For the avoidance of doubt,
    (a) Buyer shall be responsible for any Liabilities newly arising out of the ownership, operation and
    use of the Purchased Assets by Buyer after the Closing, and (b) Seller shall be responsible for any
    Liabilities arising out of the ownership, operation and use of the Real Property on or prior to the
    Closing that are not an Assumed Liability.

           4.       Designation of Assigned Contracts. The Buyer will provide the Trustee with a
    schedule of all Assigned Contracts on or before June 30, 2024.

                                         ARTICLE III
                                 PURCHASE PRICE AND DEPOSITS

           1.     Amount. The total consideration to be paid by Buyer to Seller for the Property
    (such amount the “Purchase Price”) is:

                     (a)      $26,250,000.00;

                    (b)    $1,000,000.00 earmarked for the allowed chapter 11 administrative claims
    of the Seller’s and Debtor’s professionals in the Chapter 11 Case;1 and

                    (c)   the Assumed Liabilities assumed by the Buyer at Closing pursuant to Article
    II(3) of this Agreement.

           2.     Allocation. The Purchase Price shall be allocated among the various Purchased
    Assets in accordance with Section 1060 of the IRC and the applicable Treasury Regulations
    promulgated thereunder.

            3.      Deposit. The Buyer has deposited or will deposit $2,725,000.00 with Chicago Title
    and Trust Company (the “Deposit”), which Deposit shall be applied towards the Purchase Price at
    Closing. Prior to Closing, the Buyer and Seller shall direct Chicago Title and Trust Company to
    transfer the deposit to the Title Company.

                                           ARTICLE IV
                                 REPRESENTATIONS AND WARRANTIES

           1.      Seller. As of the Effective Date and the Closing, Seller represents and warrants to
    Buyer that Seller:

                   (a)  has received no written notice of any pending or threatened condemnation
    or eminent domain proceedings or zoning change proceedings that would affect any party of the
    Real Property;

                    (b)     other than as is set forth in this Agreement, Seller has not entered into any
    contracts for the sale of, and to the Knowledge of Seller, no person or entity has any option, right

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    To the extent the allowed chapter 11 administrative claims of the Seller’s and Debtor’s professionals in the Chapter 11
    Case are less than $1,000,000.00, the remaining amount shall be added to the $26,250,000.00 portion of the purchase
    price.
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of first refusal, right of first offer, or any other rights to purchase, all or any portion of the Real
Property;

              (c)     to the Knowledge of Seller, there is no land use or zoning action or
proceeding, or general or special assessment action or proceeding, or condemnation or eminent
domain action or proceeding pending or threatened with respect to the Real Property;

                (d)    since the date of Seller’s appointment as the Chapter 11 Trustee for the
Debtor, Seller has received no written notice that Hazardous Substances are now or have been used
or stored on or within any portion of the Real Property except those substances which are or have
been used or stored on the Real Property in the normal course of use and operation of the Real
Property or the conduct of business by the tenants thereof and in compliance with all applicable
Environmental Laws;

                (e)    since the date of Seller’s appointment as the Chapter 11 Trustee for the
Debtor, Seller has received no written notice of federal, state or local enforcement, clean-up,
removal, remedial or other governmental or regulatory actions under any Environmental Law
instituted or completed affecting the Real Property;

               (f)     since the date of Seller’s appointment as the Chapter 11 Trustee for the
Debtor, Seller has received no written notice of a claim made by any third party against Seller
relating to any Hazardous Substances on or within the Real Property Seller shall not make any
material alterations to the Property without Buyer’s consent, which shall not be unreasonably
withheld or delayed.

        4.      Joint Representations and Warranties. In addition to any express agreements of
the Parties contained herein and, subject to the occurrence of the Bankruptcy Contingencies, the
Parties jointly represent and warrant to each other that:

             (a)     each Party has the legal power, right and authority to enter into this
Agreement and the instruments referenced herein, and to consummate this transaction;

               (b)     all requisite action has been taken by each Party in connection with the
entering into of this Agreement, the instruments referenced herein, and the consummation of this
transaction;

               (c)    no further consent of any partner, shareholder, creditor, investor, judicial or
administrative body, Governmental Authority or other party is required in connection with entering
into this Agreement;

               (d)     the individuals executing this Agreement and the instruments referenced
herein on behalf of each Party have the legal power, right, and actual authority to bind each Party
to the terms and conditions of those documents;

                (e)     this Agreement and such other documents now or hereafter to be executed
and delivered by either Party under this Agreement, when executed and delivered, and subject to
the satisfaction of the Bankruptcy Contingencies, will each constitute the legal, valid and binding
obligations of the relevant Party enforceable against such Party in accordance with its terms; and


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                (f)      except for the Broker, neither Party has dealt with any Person who has acted,
directly or indirectly, as a broker, finder, financial adviser or in such other capacity for or on behalf
of either Party in connection with the transaction contemplated by this Agreement in any manner which
would entitle such Person to any fee or commission in connection with this Agreement or the transaction
contemplated in this Agreement.

                                             ARTICLE V
                                              CLOSING

         1.     Closing. The closing (the “Closing”) of the Sale shall occur remotely via the
electronic exchange of documents and signature pages on or within three (3) Business Days after
the conditions set forth in Article VI are satisfied or, if legally permissible, are waived (other than
those conditions that by their nature are to be satisfied (or validly waived) at the Closing, but
subject to such satisfaction or waiver) (or such other date as the Parties may agree in writing), or
at such other time or place as Buyer and Seller may agree. The date on which the Closing occurs
is referred to as the (“Closing Date”), which shall be on or before August 8, 2024 (the “Outside
Closing Date”).

         2.     Title Insurance. At the Closing, the Title Company shall agree to issue to Buyer
an ALTA Owners Title Insurance Policy (2006) with coverage in an amount equal to the Purchase
Price showing title to the Real Property and Improvements vested in Buyer subject only to the
Permitted Exceptions and the standard printed exceptions, exclusions and conditions in the policy
of title insurance (the “Title Policy”). Buyer shall pay the premium for the Title Policy and, if the
Closing does not occur, costs related to the issuance of the title commitment. If Buyer elects to
obtain any additional endorsements or an extended coverage policy, any additional premiums or
costs for the extended coverage policy and endorsements shall be at Buyer’s sole cost and expense.

        3.      Recording. At the Closing, Seller shall promptly undertake all of the following:
(a) cause the Deed to be recorded with the Harris County Clerk’s Office, Real Property, in the
State of Texas and obtain conformed copies thereof for distribution to Buyer and Seller; and (b)
direct the Title Company to issue the Title Policy to Buyer.

                                         ARTICLE VI
                                     CLOSING CONDITIONS

      1.     Title Transfer. At the Closing, fee simple title to the Real Property and the
Improvements shall be conveyed to Buyer by Seller by Deed, subject only to the following
(“Permitted Exceptions”):

              (a)    a lien for real property taxes and assessments, water charges, sewer
assessments and each other lien or encumbrance of an indefinite or unascertainable amount not
then delinquent;

                (b)     matters of title described in the preliminary title report;

               (c)    matters affecting the condition of title to the Property created by or with the
written consent of Buyer;

                (d)     any matters which would be shown by an inspection or a survey of the
Property; and
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               (e)     rights of parties in possession.

         2.     The Parties agree that Seller makes no express or implied warranties regarding the
condition of title to the Property, and Buyer shall rely on the Title Policy for protection against any
title defects.

        3.     Seller Deliveries to Buyer at Closing. On or prior to the Closing Date, Seller shall
deliver or cause to be delivered through the Title Company to Buyer:

              (a)    the Deed duly executed and acknowledged by Seller and in recordable form
conveying the Real Property and Improvements to Buyer;

               (b)     the FIRPTA Affidavit duly executed by Seller;

               (c)     the Bill of Sale duly executed by Seller;

               (d)     the Assignment and Assumption Agreement executed by Seller;

                (e)    possession of the Property to Buyer upon the Closing, subject to the right
of parties in possession, if any; and

             (f)       to the extent reasonably practicable, all books and records included in the
Purchased Assets.

        4.     Buyer Deliveries to Seller at Closing. On or prior to the Closing Date, Buyer shall
deliver or cause to be delivered through the Title Company to Seller:

               (a)     the Purchase Price in immediately available funds via wire transfer to a
                       bank account specified by Seller to the Buyer and the Title Company;

               (b)     the Bill of Sale duly executed by Buyer; and

               (c)     the Assignment and Assumption Agreement executed by Buyer.

       5.      Conditions Precedent.

                (a)     Seller. The Closing and Seller’s obligations with respect to this transaction
are subject to the following conditions precedent: (a) the satisfaction of each of the Bankruptcy
Contingencies, (b) Buyer’s delivery to Seller on or before the Closing Date of the items described
in Article VI(4), (c) Buyer shall have performed and complied with all material agreements and
covenants to be performed by Buyer hereunder, and Seller shall not have notified Buyer in writing
of any breach and such breach has not been remedied within three (3) days thereafter, and (d)
Buyer’s representations, warranties and covenants set forth in this Agreement shall be true and
correct as of the Closing Date.

                (b)     Buyer. The Closing and Buyer’s obligations with respect to this transaction
are subject to the following conditions precedent: (a) the satisfaction of each of the Bankruptcy
Contingencies, (b) Seller’s delivery to Buyer on or before the Closing Date of the items described



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in Article VI(3), (c) Seller shall have obtained (with the reasonable assistance of Buyer) a Final
Order authorizing Seller’s assumption of the Assigned Contracts and the assignment of same to
Buyer, to the extent not otherwise included within the Sale Order, (d) Seller shall have performed
and complied with all material agreements and covenants to be performed by Seller hereunder,
and Buyer shall not have notified Seller in writing of any breach and such breach has not been
remedied within three (3) days thereafter, (e) Seller’s representations and warranties set forth in
this Agreement shall be true and correct as of the Closing Date, and (f) the Title Company shall
have provided an irrevocable commitment to issue the Title Policy.

               (c)     All Parties. The obligation of each Party to consummate the Sale on the
Closing Date is subject to the fulfillment of the following conditions: (a) the Bankruptcy Court
shall have entered the Sale and Bid Procedures Order; (b) the Bankruptcy Court shall have entered
the Sale Order and such order has become a Final Order; and (c) there shall not be in effect any
Law restraining, enjoining, or prohibiting the consummation of the Sale; provided that,
notwithstanding anything to the contrary in this Article VI(5), the Buyer, and only the Buyer, may
waive the obligation that any order entered by the Bankruptcy Court become a Final Order as a
condition to Closing.

       6.      Frustration. No Party may rely on the failure of any condition set forth in Article
VI (3) and (4) as the case may be, to be satisfied to excuse such party’s obligation to effect the
Closing if such failure was caused by such Party’s breach of this Agreement.

                                          ARTICLE VII
                                          COVENANTS

       Between the Effective Date and the Closing Date, Seller:

              (a)    shall not enter into any new contract or other agreement relating to the
Property without Buyer’s written consent;

               (b)     shall refrain from committing any waste upon the Real Property;

                (c)    shall keep all insurance policies covering or relating to the Real Property in
full force and effect;

               (d)     shall not encumber the Real Property or sell or transfer any interest or option
in the Real Property other than in accordance with the Sale and Bid Procedures Order;

              (e)     shall not sell, assign, or otherwise transfer any development rights in the
Real Property other than in accordance with the Sale and Bid Procedures Order;

                (f)    shall not submit any application relating to zoning, rezoning or other land
use matter for the Real Property without Buyer’s written consent; and

              (g)    shall not apply for any new permit, license or certificate relating to the Real
Property without Buyer’s written consent.




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               (h)    absent written consent of Buyer, shall not convey any interest in the
Property and shall not subject the Property to any additional liens, encumbrances, covenants,
conditions, easements, rights of way or similar matters after the date of this Agreement, except as
may be provided for in this Agreement, which shall not be eliminated or removed prior to the
Closing Date;

               (i)    shall maintain the Property in substantially the same condition as at the
Effective Date, ordinary wear and tear excepted; and

               (j)    shall (i) keep and perform all of the obligations to be performed by Seller
under any Leases or Service Contracts, (ii) not enter into any contract or agreement providing for
the provision of goods or services to or with respect to the Property or the operation thereof unless
such contracts or agreements can be terminated upon not more than thirty (30) days’ notice and
without payment of penalty, and (iii) not enter into any new Leases for any portion of the Property
or extend the terms of any existing Leases without Buyer’s written consent, which consent shall
not be unreasonably withheld or delayed.

                                       ARTICLE VIII
                                  BANKRUPTCY PROVISIONS

        1.      Bankruptcy Court Approval. Seller and Buyer acknowledge that this Agreement
and the consummation of the transactions contemplated hereby are subject to the Bankruptcy
Court’s approval. Seller and Buyer acknowledge that (a) each must comply with the Sale and Bid
Procedures and Sale and Bid Procedures Order, and (b) Buyer must provide adequate assurance of
its future performance within the meaning of section 365(f)(2)(B) of the Bankruptcy Code with
respect to the Assigned Contracts. Seller agrees that it will promptly take all actions reasonably
required to assist in obtaining a Bankruptcy Court finding that there has been an adequate
demonstration of adequate assurance of future performance under the Assigned Contracts, such as
furnishing timely requested and factually accurate affidavits, non-confidential financial
information, and other documents or information for filing with the Bankruptcy Court and making
Buyer’s representatives available to testify before the Bankruptcy Court.

                                            ARTICLE IX
                                           PRORATIONS

       Prorations shall be made as of the Closing Date as if Buyer were in title for the entire
Closing Date, and the following shall be prorated and adjusted between Seller and Buyer:

                (a)    Utilities. Buyer shall notify the utility companies that all utility bills for the
period commencing on the Closing Date are to be sent to Buyer. In addition to the Purchase Price,
Buyer shall pay to Seller an amount equal to the total of all utility deposits held by utility
companies and Seller shall assign to Buyer all of Seller’s right, title and interest in any such utility
deposits; provided, however, Seller reserves the right to receive a return of such utility deposits
and in such event, Buyer shall arrange for substitute deposits with the utility companies as may be
required. If following the Closing Date either Buyer or Seller receives a bill for utilities or other
services provided to the Property for the period on which the Closing Date occurred, then Buyer
and Seller shall equitably prorate the bill.

                (b)     Rental Income. Uncollected rent shall not be prorated at Closing. Buyer
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 shall have the right to collect delinquent rent.

                  (c)    Service Contracts. If after the Closing Date, either Seller or Buyer receives
 a bill for services provided under the Service Contracts for the period after which the Closing Date
 occurred, Buyer shall be responsible for such bill.

                (d)     Other Transaction Costs. All other fees, costs and expenses not expressly
 addressed in this Article IX or elsewhere in this Agreement shall be allocated between Seller and
 Buyer in accordance with applicable local custom for similar transactions.

                 (e)     Tenant Deposits. The amount of all cash security and any other cash tenant
 deposits actually held by Seller, and any interest due thereon (if required by law or contract to be
 earned thereon) and not already applied to tenant obligations under the Leases, if any, shall be
 credited to Buyer. Buyer will indemnify, defend, and hold Seller harmless from and against all
 demands and claims made by tenants with respect to any security deposits transferred or credited
 to Buyer at Closing and will reimburse Seller for all attorneys’ fees incurred or that may be incurred
 as a result of any such claims or demands.

               (f)    Method of Proration. All prorations shall be made as of the Closing Date
 based on a 365-day year.

                                           ARTICLE X
                                       COSTS AND EXPENSES

        Except as otherwise expressly provided in this Agreement, whether or not the transactions contemplated
by this Agreement are consummated, the Parties shall bear their own costs and expenses (including all
compensation and expenses of counsel, financial advisors, consultants, actuaries, independent accountants, and
any mortgage brokers) incurred in connection with this Agreement and any transaction contemplated hereby.
All other normal costs and expenses shall be allocated between Buyer and Seller in accordance with the
customary practice in the county in which the Real Property is located, provided that Buyer shall pay: (i) all
premiums for the Title Policy, any additional cost of an extended coverage title policy and the cost of any
endorsements required by Buyer; and document recording charges.

                                              ARTICLE XI
                                                “AS IS”

       EXCEPT FOR SELLER’S REPRESENTATIONS AND WARRANTIES SET FORTH IN
 ARTICLE IV (“SELLER’S WARRANTIES”), TO THE MAXIMUM EXTENT PERMITTED
 BY APPLICABLE LAW, THIS SALE IS MADE AND WILL BE MADE WITHOUT
 REPRESENTATION, COVENANT, OR WARRANTY OF ANY KIND (WHETHER EXPRESS
 OR IMPLIED) BY SELLER. AS A MATERIAL PART OF THE CONSIDERATION FOR THIS
 AGREEMENT, BUYER AGREES TO ACCEPT THE PROPERTY ON AN “AS IS”, “WHERE
 IS”, “WITH ALL FAULTS” BASIS, AND WITHOUT ANY REPRESENTATION OR
 WARRANTY RELATING TO THE PROPERTY, ALL OF WHICH SELLER HEREBY
 DISCLAIMS EXCEPT FOR SELLER’S WARRANTIES. NONE OF SELLER OR ANY OF ITS
 SHAREHOLDERS, MEMBERS, PARTNERS, TRUSTEES, DIRECTORS, OFFICERS,
 MANAGERS, EMPLOYEES, AGENTS (INCLUDING BROKER) OR REPRESENTATIVES,
 NOR ANY PERSON PURPORTING TO REPRESENT ANY OF THE FOREGOING, HAVE
 MADE ANY REPRESENTATION, WARRANTY, GUARANTY, PROMISE, PROJECTION
 OR PREDICTION WHATSOEVER WITH RESPECT TO THE PROPERTY OR ANY
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PORTION THEREOF, WRITTEN OR ORAL, EXPRESS OR IMPLIED, ARISING BY
OPERATION OF LAW OR OTHERWISE.

      EXCEPT FOR SELLER’S WARRANTIES, NO WARRANTY OR REPRESENTATION
IS MADE BY SELLER RELATED TO THE PROPERTY OF ANY KIND, INCLUDING
WITHOUT LIMITATION ANY WARRANTY AS TO FITNESS FOR ANY PARTICULAR
PURPOSE, MERCHANTABILITY, HABITABILITY, DESIGN, QUALITY, CONDITION,
OPERATION OR INCOME, COMPLIANCE WITH DRAWINGS OR SPECIFICATIONS,
ABSENCE OF DEFECTS, ABSENCE OF HAZARDOUS OR TOXIC, ABSENCE OF FAULTS,
FLOODING, OR COMPLIANCE WITH LAWS AND REGULATIONS (INCLUDING LAWS
AND REGULATIONS RELATING TO HEALTH, SAFETY, AND THE ENVIRONMENT).
SPECIFICALLY, BUT WITHOUT LIMITING THE GENERALITY OF THE FOREGOING,
SELLER HEREBY EXPRESSLY DISCLAIMS THE IMPLIED WARRANTY OF
HABITABILITY. BUYER ACKNOWLEDGES THAT IT HAS ENTERED INTO THIS
AGREEMENT WITH THE INTENTION OF MAKING AND RELYING UPON ITS OWN
INVESTIGATION OF THE PHYSICAL, ENVIRONMENTAL, ECONOMIC USE,
COMPLIANCE, AND LEGAL CONDITION OF THE PROPERTY AND THAT, EXCEPT FOR
SELLER’S WARRANTIES, BUYER IS NOT NOW RELYING, AND WILL NOT LATER
RELY, UPON ANY REPRESENTATIONS AND WARRANTIES MADE BY SELLER OR
ANYONE ACTING OR CLAIMING TO ACT, BY, THROUGH OR UNDER OR ON SELLER’S
BEHALF CONCERNING THE PROPERTY.

       The provisions of this Article XI shall survive indefinitely and closing or termination of
this Agreement and shall not be merged into the closing documents.

                                         ARTICLE XII
                                        CONDEMNATION

         Risk of loss resulting from any condemnation or eminent domain proceeding which is
commenced or has been threatened before the Closing Date, and risk of loss to the Property due to
fire, flood or any other cause before the Closing Date, shall remain with Seller. If before the
Closing Date the Property or any portion thereof shall be materially damaged, or if the Property or
any material portion thereof shall be subjected to a bona fide threat of condemnation with respect
to the taking by eminent domain or condemnation, then Buyer may terminate this Agreement by
written notice to Seller given within five (5) days after Seller notifies Buyer of the damage or
taking. If the Closing Date is within the aforesaid 5-day period, then the Closing Date shall be
extended to the next Business Day following the end of said 5-day period. If no such election is
made, and in any if the damage after a casualty is not material or if a non-material portion of the
Property is subject to a taking, this Agreement shall remain in full force and effect and the purchase
contemplated herein, less any interest taken by eminent domain or condemnation, shall be effected
with no further adjustment except as contemplated in this paragraph. If the Property was subject
to a taking, at Closing Seller shall assign, transfer and set over to Buyer all of the right, title and
interest of Seller in and to any awards that have been or that may thereafter be made for any taking.
If the Property was damaged, at Closing Seller shall reduce the Purchase Price by the value
reasonably estimated by Seller to repair or restore the damaged portion of the Improvements, less
any sums expended by Seller to make emergency repairs to the Improvements or the Property or
otherwise protect the physical condition of the Improvements or the Property. In either case, this
transaction shall close pursuant to the terms of this Agreement. For the purposes of this paragraph,
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the phrases “material damage” and “materially damaged” mean damage up to a maximum
aggregate amount of $500,000.00.

                                          ARTICLE XIV
                                         TERMINATION

       1.       Termination. Notwithstanding anything contained in this Agreement to the
contrary, this Agreement shall terminate and the Closing shall not occur if:

               (a)    either Party is in material breach or default of its covenants or obligations
under this Agreement, which breach or default is not caused by a default by Seller or Buyer, as to
which Seller or Buyer has provided written notice to either Party and such Party has not remedied
such breach within ten (10) Business Days thereafter;

               (b)      Seller has not satisfied any one or more of the conditions precedent set forth
in Article VI(3) at or prior to the Outside Closing Date;

               (c)      Buyer has not satisfied any one or more of the conditions precedent set forth
in Article VI(4) at or prior to the Outside Closing Date;

               (d)     if the Bankruptcy Court declines to enter the Sale Order;

               (e)      by mutual written consent of Seller and Buyer;
               (f)      the Bankruptcy Court enters a Final Order dismissing the Chapter 11 Case
or converting it to a case under Chapter 7 of the Bankruptcy Code;

              (g)   a Governmental Authority issues a Final Order prohibiting the transactions
contemplated hereby where such Final Order was requested, encouraged, or supported by Seller;
or

              (h)     Buyer is not the Successful Bidder (as defined in the Sale and Bid
Procedures) at the Auction and Seller sells the Property pursuant to an agreement with the
Successful Bidder (an “Alternative Transaction”).

        2.      Effect of Termination. In the event of the termination of this Agreement in
accordance with this Article XIV, (a) this Agreement shall immediately become void and of no
force or effect, except for this Article XIV which shall survive termination of this Agreement, (b)
the transactions contemplated by this Agreement shall be abandoned without further action by any
Party, (c) if this Agreement is terminated by Buyer because of Seller’s breach or default or is
terminated for any reason other than Buyer’s breach or default, then and in that event, the entire
Deposit shall be returned promptly to Buyer, but in any event within five (5) days after the
termination of this Agreement, (d) if this Agreement is terminated by Seller because of Buyer’s
breach or default which breach or default has not been caused by a default by Seller and has not
been cured within the time period specified in Article XIV.I (a), then and in that event, the entire
Deposit shall be retained by or disbursed to Seller as liquidated damages for Buyer’s breach or
default of this Agreement, and (e) all rights and obligations of the Parties hereunder (except for this
Article XIV) shall terminate without any liability of any Party to any other Party or their Affiliates.



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                                         ARTICLE XV
                                       MISCELLANEOUS

        1.      Assignment. This Agreement binds and benefits the Parties and their respective
successors and assigns. Neither Party may assign this Agreement nor any right or obligation
hereunder without the prior written consent of the other Party; provided, however, that Buyer may
assign this Agreement to an affiliate or any entity that controls, is controlled by or is under common
control with Buyer without Seller’s prior consent. Any such assignment by either Party shall not
relieve the assignor of any obligation under this Agreement without the written consent of the other
Party to this Agreement and the assignee shall also be bound by the obligations of the assignor
pursuant to this Agreement.

        2.     Counterparts. This Agreement may be executed in counterparts, by either an
original signature or signature transmitted by facsimile transmission or other similar process and
each copy so executed shall be deemed to be an original and all copies so executed shall constitute
one and the same agreement.

        3.       Severability. If any term or provision of this Agreement shall be deemed to be
invalid or unenforceable to any extent, the remainder of this Agreement shall not be affected
thereby, and each remaining term and provision of this Agreement shall be valid and be enforced
to the fullest extent permitted by law.

        5.      Waivers; Survival. No waiver of any breach of any covenant or provision
contained herein shall be deemed a waiver of any preceding or succeeding breach thereof, or of
any other covenant or provision contained herein. No extension of time for performance of any
obligation or act shall be deemed an extension of the time for performance of any other obligation
or act except those of the waiving Party, which shall be extended by a period of time equal to the
period of the delay. All covenants and agreements contained herein which by their terms are to be
performed in whole or in part, or which prohibit actions, subsequent to the Closing shall, solely to
the extent such covenants and agreements are to be performed, or prohibit actions, subsequent to
the Closing, survive the Closing in accordance with their terms. All other covenants and
agreements contained herein, and all representations and warranties contained herein or in any
certificated deliveries hereunder, shall not survive the Closing and shall thereupon terminate.

        6.     Successors and Assigns. This Agreement is binding upon and inures to the benefit
of the permitted successors and assigns of the Parties hereto.

        7.      Entire Agreement. This Agreement, including all Exhibits attached hereto,
constitutes the entire contract between the Parties hereto with respect to the subject matter hereof
and may not be modified except by an instrument in writing signed by the Party to be charged.
Seller and Buyer shall cooperate to create mutually acceptable Exhibits in place of all Exhibits that
are not attached hereto as of the Effective Date.

        8.     Time of Essence. Seller and Buyer acknowledge and agree that time is strictly of
the essence with respect to each and every term, condition, obligation and provision hereof.

      9.      Construction. The Parties acknowledge and agree that this Agreement is the result
of arms-length negotiations and shall not be construed for or against any Party by virtue of
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draftsmanship. Unless the context requires otherwise, (a) the words “include,” “including” and
variations thereof mean without limitation; (b) the words “hereof,” “hereby,” “herein,”
“hereunder” and similar terms refer to this Agreement as a whole and not any particular section or
article in which such words appear; (c) words in the singular include the plural, and words in the
plural include the singular; (d) a term defined as one part of speech (such as a noun) shall have a
corresponding meaning when used as another part of speech (such as a verb); and (e) currency
amounts referenced herein are in U.S. Dollars.

          10.    Governing Law; Jurisdiction. Except to the extent the mandatory provisions of
the Bankruptcy Code apply, this Agreement shall be governed by the laws of the State of Texas
without regard to principles of conflicts or choice of laws or any other law that would make the
laws of any other jurisdiction other than the State of Texas applicable hereto. Without limitation
of any Party’s right to appeal any order of the Bankruptcy Court, (i) the Bankruptcy Court shall
retain exclusive jurisdiction to enforce the terms of this Agreement and to decide any claims or
disputes which may arise or result from, or be connected with, this Agreement, any breach or
default hereunder, or the transactions contemplated hereby and (ii) any and all claims relating to
the foregoing shall be filed and maintained only in the Bankruptcy Court, and the Parties hereby
consent and submit to the exclusive jurisdiction and venue of the Bankruptcy Court and irrevocably
waive the defense of an inconvenient forum to the maintenance of any such proceeding; provided,
however, that, if the Chapter 11 Case is closed, all proceedings arising out of or relating to this
Agreement shall be heard first by the Bankruptcy Court, but if the Bankruptcy Court determines
that it lacks subject matter jurisdiction or abstains or otherwise declines to exercise its jurisdiction,
then in any other state or federal court of competent jurisdiction situated in Harris County, Texas,
and the Parties hereby irrevocably submit to the exclusive jurisdiction and venue of such courts in
any such proceeding and irrevocably waive the defense of an inconvenient forum to the
maintenance of any such proceeding. The Parties consent to service of process by first class mail
at the addresses listed in Article XV(14) or any other manner permitted by law.

     11.   Waiver of Jury Trial. THE PARTIES HEREBY IRREVOCABLY WAIVE ALL
RIGHT TO TRIAL BY JURY IN ANY PROCEEDING OR COUNTERCLAIM (WHETHER
BASED IN CONTRACT OR IN TORT, OR OTHERWISE) ARISING OUT OF OR RELATING
TO THIS AGREEMENT OR THE ACTIONS OF SELLER, BUYER, OR THEIR
REPRESENTATIVES IN NEGOTIATION OR PERFORMANCE HEREOF.

        12.      Integration; Binding Effect; No Third-Party Beneficiaries. This Agreement
constitutes the entire Agreement among the Parties with respect to the subject matter hereof and
shall supersede all previous negotiations, commitments and writings. All Exhibits called for by
this Agreement and delivered to the Parties shall be considered a part hereof with the same force
and effect as if the same had been specifically set forth in this Agreement. This Agreement is solely
for the benefit of Buyer and Seller, and their respective successors and permitted assigns. This
Agreement shall not be deemed to confer upon or give to any third party, including any past or
present directors, officers, employees, or agents of Seller, any remedy, claim, cause of action or
other right.

        13.      No Recordation. Buyer agrees not to record a memorandum or other document
relating to this Agreement without the prior written consent of Seller.

       14.     Notices. All notices, requests, demands, and other communications to be given
under this Agreement shall be in writing and delivered in person, or sent by (i) electronic mail, (ii)
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certified mail, postage prepaid, or (iii) nationally recognized overnight courier with a reliable
tracking service and properly addressed as follows:

 Seller:                Chapter 11 Trustee c/o Galleria 2425 Owner, LLC
                        Jones Murray LLP
                        602 Sawyer Street, Suite 400
                        Houston, TX 77007
                        Attn.: Christopher R. Murray
                        Email: christopher.murray@jonesmurray.com

                        With a copy to:

                        Shannon & Lee LLP
                        2100 Travis Street, Suite 1525
                        Houston, TX 77002
                        Attn.: R. J. Shannon; Kyung S. Lee
                        Email: rshannon@shannonleellp.com; klee@shannonleellp.com
                        QB Loop Property LP
 Buyer:
                        c/o QB Loop Property GP, LLC
                        1535 West Loop South, Suite 100
                        Houston, Texas 77027
                        Attn: Anwar-i-Qadeer
                        Email: qadeer@qadeerlaw.com

                        With a copy to:

                        Locke Lord LLP
                        600 Travis Street, Suite 2800
                        Houston, Texas 77002
                        Attn: Simon R. Mayer
                        Phone: 713-226-1507
                        Facsimile: 713-229-2675
                        Email: simon.mayer@lockelord.com


        15.    Environmental Notices. From the Effective Date through the Closing Date, Seller
shall promptly notify Buyer if to the Knowledge of Seller there are any threatened or pending
investigations by any governmental agency under any law, regulation or ordinance pertaining to
any Hazardous Substance.

       16.      Further Assurances. From the Effective Date until the Closing or termination of
this Agreement, Seller and Buyer shall use commercially reasonable efforts to take, or cause to be
taken, all actions and to do, or cause to be done, all things necessary, proper or advisable to
consummate the transaction contemplated in this Agreement, including, without limitation, (a)
obtaining all necessary consents, approvals and authorizations required to be obtained from any
Governmental Authority, including, without limitation, the Bankruptcy Court, or other Person
under this Agreement or applicable law, and (b) effecting all registrations and filings required
under this Agreement or applicable law. After the Closing, Seller and Buyer shall use
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commercially reasonable efforts (at no cost or expense to such Party, other than any de minimis
cost or expense or any cost or expense which the requesting Party agrees in writing to reimburse)
to further effect the transaction contemplated in this Agreement. This Article XV(16) shall survive
the Closing.



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                                   EXHIBIT A

                       LEGAL DESCRIPTION OF PROPERTY

Tract 1: Fee Tract

BEING 2.4462 ACRES (106,557 SQUARE FEET) OF LAND OUT OF THE WILLIAM WHITE
SURVEY, ABSTRACT NO. 836, HOUSTON, HARRIS COUNTY, TEXAS, BEING THE SAME
PROPERTY CONVEYED TO 2425 WEST LOOP, LP UY SPECIAL WARRANTY DEED
RECORDED UNDER HARRIS COUNTY CLERK’S FILE NO. 20070732472, SAID TRACT
CONVEYED BY DEED TO ONE WEST LOOP PLAZA, LTD. UNDER HCCF' NO. S547896
AND BEING MORE PARTICULARLY DESCRIBED BY METES AND BOUNDS AS
FOLLOWS :

COMMENCING AT A POINT IN THE NORTHERLY RIGHT OF WAY LINE WESTHEIMER
ROAD (ROW VARIES) BEING THE SOUTHEAST CORNER OF A 2.3468 ACRE PARCEL
CONVEYED BY LINCOLN NATIONAL LIFE INSURANCE COMPANY TO RED LION
HOTELS, INC. IN A DEED RECORDED IN HCCF NO. S056346 AND THE SOUTHWEST
CORNER OF A 3.4385 ACRE PARCEL CONVEYED BY HARVEY R. HOUCK, JR., TO
RESTPROP, LTD IN A OEED RECORDED IN HCCF NO. R228886;

THENCE, NORTHERLY NORTH 02 DEGREES 23 MINUTES 52 SECONDS WEST, 204.61
FEET ALONG THE COMMON LINE OF THE AFORESAID 2.3468 ACRE PARCEL TO THE
WEST AND 3.4385 ACRE PARCEL TO THE EAST, TO A 1/2 INCH IRON ROD FOUND AT
THE NORTHEAST CORNER OF THE 2.3468 ACRE PARCEL BEING THE SOUTHEAST
CORNER OF THE HEREIN DESCRIBED PARCEL AND THE POINT OF BEGINNING;

THENCE, WESTERLY ALONG TI IE COMMON LINE OF THE 2.3468 ACRE PARCEL TO
THE SOUTH AND THE HEREIN DESCRIBED PARCEL TO THE NORTH, SOUTH 87
DEGREES 44 MINUTES 46 SECONDS WEST, 464.50 FEET TO A POINT ON THE
EASTERLY RIGHT OF WAY (ROW) LINE OF INTERSTATE 610 WEST LOOP AND THE
SOUTHWEST CORNER OF THE HEREIN DESCRIBED PARCEL FROM WHICH A FOUND
RAILROAD SPIKE BEARS SOUTH 21 DEGREES 43 MINUTES EAST 2.42 FEET;

THENCE, NORTHERLY ALONG THE EASTERLY RIGHT OF WAY LINE OF INTERSTATE
610 WEST LOOP (ROW 350 FEET} NORTH 10 DEGREES 55 MINUTES 17 SECONDS EAST
251.27 FEET TO AN “X” SET IN CONCRETE BEING THE SOUTHWEST CORNER OF A
7.8998 ACRE PARCEL AS SHOWN ON THE HOUSTON VENTURE PLAT UNRESTRICTED
RESERVE “A” FILED IN THE HARRIS COUNTY MAP RECORDS AS FILM CODE
NUMBER 356074, AND THE NORTHWEST CORNER OF THE HEREIN DESCRIBED
PARCEL;

THENCE, EASTERLY ALONG THE COMMON LINE OF THE ABOVE INDICATED 7.8998
ACRE PARCEL TO THE NORTH AND Tl-IE HEREIN DESCRIBED PARCEL TO THE
SOUTH NORTH 87 DEGREES 44 MINUTES 46 SECONDS EAST, 406.61 FEET TO AN “X”
FOUND IN THE WESTERLY LINE OF A 3.4385 ACRE PARCEL OF LAND CONVEYED TO
RESTPROP, LTD AS RECORDED IN THE HCCF NO. R228886;


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THENCE, SOUTHERLY ALONG A COMMON LINE OF THE ABOVE INDICATED 3.4385
ACRE PARCEL TO THE EAST AND THE HEREIN DESCRIBED PARCEL TO THE WEST,
SOUTH 02 DEGREES 23 MINUTES 52 SECONDS EAST, 244.64 FEET TO THE POINT OF
BEGINNING CONTAINING 106,557 SQUARE FEET, 2.4462 ACRES MORE OR LESS.

Tract 2: Easement Tract; 20-Foot Non-Exclusive Roadway and Pedestrian Easement

A NON-EXCLUSIVE ROADWAY AND PEDESTRIAN EASEMENT OVER AND ACROSS A
TRACT OF LAND NORTHERLY OF AND 20 FEET WIDE ALONG THE ENTIRE
NORTHERLY BOUNDARY LINE OF TRACT I; SAID EASEMENT CREATED AND
GRANTED BY VIVIAN L. SMITH, INDIVIDUALLY AND AS INDEPENDENT EXECUTRIX
OF THE ESTATE OF R. E. SMITH, DECEASED IN THAT CERTAIN GENERAL WARRANTY
DEED DATED JULY 5, 1977 FILED IN HCCF NO. F216562 AND DESCRIBED IN HCCF NO.
G743294, BEING THE SAME EASEMENT CONVEYED TO PCCP FULLER 2425 WEST
LOOP, LLC BY SPECIAL WARRANTY DEED WITH VENDOR’S LIEN RECORDED UNDER
HARRIS COUNTY CLERK’S FILE NO. 20100450007, AND BEING MORE PARTICULARLY
DESCRIBED BY METES AND BOUNDS AS FOLLOWS:

COMMENCING AT A POINT IN THE NORTHERLY RIGHT OF WAY LINE OF
WESTHEIMER ROAD (ROW VARIES), BEING THE SOUTHEAST CORNER OF A 2.3468
ACRE PARCEL CONVEYED BY LINCOLN NATIONAL LIFE INSURANCE COMPANY TO
RED LION HOTELS INC. IN A DEED RECORDED IN HCCF NO. S056346 AND THE
SOUTHWEST CORNER OF A 3.4385 ACRE PARCEL CONVEYED BY HARVEY R.
HOUCK, JR., TO RESTPROP, LTD IN A DEED RECORDED IN HCCF NO. R228886;

THENCE, NORTHERLY NORTH 02 DEGREES 23 MINUTES 52 SECONDS WEST, 204.61
FEET ALONG THE COMMON LINE OF THE AFORESAID 2.3468 ACRE PARCEL TO THE
WEST AND 3.4385 ACRE PARCEL TO THE EAST TO A 1/2 INCH IRON ROD FOUND FOR
THE SOUTHEAST CORNER OF TRACT 1;

THENCE CONTINUING NORTHERLY NORTH 02 DEGREES 23 MINUTES 52 SECONDS
WEST, 244.64 FEET ALONG A COMMON LINE OF A PREVIOUSLY NOTED 3.4385 ACRE
PARCEL OF LAND TO THE EAST AND TRACT I TO THE WEST TO AN “X” FOUND FOR
THE NORTHEAST CORNER OF TRACT I AND THE POINT OF BEGINNING;

THENCE, WESTERLY SOUTH 87 DEGREES 44 MINUTES 46 SECONDS WEST, 406.61
FEET ALONG THE NORTHERLY LINE OF TRACT I TO AN “X” SET ON THE EASTERLY
LINE OF INTERSTATE 610 WEST LOOP (350 FEET WIDE);

THENCE, NORTHERLY NORTH 10 DEGREES 55 MINUTES 17 SECONDS EAST 20.54
FEET ALONG THE EASTERLY LINE OF INTERSTATE 610 WEST LOOP TO A POINT;

THENCE, EASTERLY 20.00 PEET NORTHERLY FROM AND PARALLEL TO THE
NORTHERLY LINE OF TRACT I, NORTH 87 DEGREES 44 MINUTES 46 SECONDS EAST,
401.88 FEET TO A POINT;




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THENCE, SOUTHERLY SOUTH 02 DEGREES 23 MINUTES 52 SECONDS EAST 20.00
FEET TO THE POINT OF BEGINNING AND CONTAINING 0.1856 ACRES OR 8,085
SQUARE FEET OF LAND MORE OR LESS.

Tract 3: Easement Tract; 20-Foot Non-Exclusive Roadway and Pedestrian Easement

A NON-EXCLUSIVE ROADWAY AND PEDESTRIAN EASEMENT OVER AND ACROSS A
TRACT OF LAND SOUTHERLY OF AND 20.00 FEET WIDE ALONG THE ENTIRE
SOUTHERN BOUNDARY LINE OF TRACT I, SAID EASEMENT CREATED AND
GRANTED ON FEBRUARY 16, 1979, FROM WEST LOOP HOTEL, LIMITED TO FIN
PROPERTIES, LIMITED PILED IN HCCF NO. 0041310, BEING THE SAME PROPERTY
EASEMENT CONVEYED TO PCCP FULLER 2425 WEST LOOP, LLC BY SPECIAL
WARRANTY DEED WITH VENDOR'S LIEN RECORDED UNDER HARRIS COUNTY
CLERK’S FILE NO. 20100450007, AND BEING MORE PARTICULARLY DESCRIBED BY
METES AND BOUNDS AS FOLLOWS:

COMMENCING AT A POINT IN THE NORTHERLY RIGHT OF WAY LINE OF
WESTHEIMER ROAD (ROW VARIES), BEING THE SOUTHEAST CORNER OF A 2.3468
ACRE PARCEL CONVEYED BY LINCOLN NATIONAL LIFE INSURANCE COMPANY TO
RED LION HOTELS, INC. IN A DEED RECORDED IN HCCF NO. S056346 AND THE
SOUTHWEST CORNER OF A 3.4385 ACRE PARCEL CONVEYED RY HARVEY R HOUCK,
JR., TO RESTPROP, LTD IN A DEED RECORDED IN HCCF NO. R228886;

THENCE, NORTHERLY NORTH 02 DEGREES 23 MINUTES 52 SECONDS WEST, 184.61
FEET ALONG THE COMMON LINE OF THE AFORESAID 2.3468 ACRE PARCEL TO THE
WEST AND 3.4385 ACRE PARCEL TO THE EAST TO THE POINT OF BEGINNING,
WHENCE THE SOUTHEAST CORNER OF TRACT I BEARS NORTH 02 DEGREES 23
MINUTES 52 SECONDS WEST, 20.02 FEET;

THENCE, WESTERLY 20.00 FEET SOUTHERLY FROM AND PARALLEL TO THE
SOUTHERLY LINE OF TRACT I, SOUTH 87 DEGREES 44 MINUTES 46 SECONDS WEST,
469.23 FEET TO A POINT IN THE EASTERLY LINE OF INTERSTATE 610 WEST LOOP;

THENCE, NORTHERLY NORTH 10 DEGREES 55 MINUTES 17 SECONDS EAST, 20.54
FEET ALONG THE EASTERLY LINE OF INTERSTATE 610 WEST LOOP TO THE
SOUTHWEST CORNER FOR TRACT I FROM WHICH A FOUND RAILROAD SPIKE
BEARS SOUTH 21 DEGREES 43 MINUTES EAST, 2.42 FEET;

THENCE, EAST ERLY NORTH 87 DEGREE S 44 MINUTES 46 SECONDS EAST, 464.50
FEET ALONG THE SOUTHERLY LINE OF TRACT I TO A l/2 INCH IRON ROD FOUND AT
THE SOUTHEAST CORNER OF TRACT 1;

THENCE, SOUTHERLY SOUTH 02 DEGREES 23 MINUTES 52 SECONDS EAST, 20.02
FEET ALONG THE A COMMON LINE BETWEEN A PREVIOUSLY DESCRIBED 2.3468
ACRES PARCEL TO THE WEST AND A 3.4385 ACRE PARCEL TO THE EAST TO THE
POINT OF BEGINNING AND CONTAINING 0.2144 ACRES OR 9,337 SQUARE FEET OF
LAND, MORE OR LESS.


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Tract 4: Easement Tract; 28-Foot Roadway and Pedestrian Easement

A NON-EXCLUSIVE ROADWAY AND PEDESTRIAN EASEMENT ACROSS EASTERLY 28
FEET OF A 2.3468 ACRE TRACT ADJACENT TO AND SOUTHERLY OF TRACT 1.
CREATED AND GRANTED IN THAT CERTAIN ROAD AND PEDESTRIAN EASEMENT
DATED FEBRUARY 16, 1979 FROM WEST LOOP HOTEL, LIMITED TO FIN PROPERTIES,
LIMITED, FILED IN HCCF NO. G041313, BEING THE SAME PROPERTY EASEMENT
CONVEYED TO PCCP FULLER 2425 WEST LOOP, LLC BY SPECIAL WARRANTY DEED
WITH VENDOR’S LIEN RECORDED UNDER HARRIS COUNTY CLERK’S FILE NO.
20100450007, AND BEING MORE PARTICULARLY DESCRIBED BY METES AND
ROUNDS AS FOLLOWS:

BEGINNING AT A FOUND 5/8 INCH IRON ROD IN Tl-IE NORTHERLY RIGHT OF WAY
LINE OF WESTHEIMER ROAD (ROW VARIES), BEING THE SOUTHEAST CORNER OF A
2.3468 ACRE PARCEL CONVEYED BY LINCOLN NATIONAL LIFE INSURANCE
COMPANY TO RED LION HOTELS, INC. IN A DEED RECORDED IN HCCF NO. S056346
AND THE SOUTHWEST CORNER OF A 3.4385 ACRE PARCEL CONVEYED BY HARVEY
R. HOUCK, JR., TO RESTPROP, LTD IN A DEED RECORDED IN HCCF NO. R228886;

THENCE, WESTERLY SOUTH 86 DEGREES 46 MINUTES 52 SECONDS WEST, 28.00 FEET
ALONG THE NORTHERLY LINE OF WESTHEIMER ROAD TO A POINT;

THENCE, NORTHERLY 28.00 FEET WESTERLY OF AND PARALLEL TO THE EASTERLY
LINE OF SAID 2.3468 ARE TRACT NORTH 02 DEGREES 23 MINUTES 52 SECONDS
WEST, 205.08 FEET TO A POINT ON THE SOUTHERLY LINE OF TRACT 1;

THENCE, EASTERLY NORTH 87 DEGREES 44 MINUTES 46 SECONDS EAST, 28.00 FEET
ALONG THE SOUTHERLY LINE OF TRACT I TO A 1/2 INCH IRON ROD FOUND IN THE
WESTERLY LINE OF A 3.4385 ACRE PARCEL OF LAND PRESENTLY OWNED BY
RESTPROP, LTD AS RECORDED IN THE HCCF NO. R228886;

THENCE, SOUTHERLY SOUTH 02 DEGREES 23 MINUTES 52 SECONDS EAST, 204.61
FEET ALONG A COMMON LINE OF THE ABOVE INDICATED 3.4385 ACRE PARCEL TO
THE EAST SAID THE PREVIOUSLY DESCRIBED 2.3468 ACRE PARCEL TO THE WEST,
TO THE POINT OF BEGINNING, CONTAINING 0.1317 ACRES OR 5,735 SQUARE FEET
(CALLED 5,740) OF LAND MORE OR LESS.

Tract 5: Easement Tract; 5-Foot Storm Sewer Easement

A 1,025 SQUARE FOOT TRACT OF LAND, BEING THAT SAME TRACT UN PROPERTIES,
LIMITED, RECORDED IN HCCF NUMBER G041311, LOCATED IN THE WILLIAM WHITE
SURVEY, ABSTRACT NUMBER 836, CITY OF HOUSTON, HARRIS COUNTY, TEXAS,
BEING THE SAME EASEMENT CONVEYED TO PCCP FULLER 2425 WEST LOOP, LLC
BY SPECIAL WARRANTY DEED WITH VENDOR’S LIEN RECORDED UNDER HARRIS
COUNTY CLERK'S FILE NO. 20100450007, AND BEING MORE PARTICULARLY
DESCRIBED BY METES AND BOUNDS AS FOLLOWS:



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COMMENCING AT A POINT IN THE NORTHERLY RIGHT OF WAY (ROW) OF
WESTHEIMER ROAD (ROW VARIES), BEING THE SOUTHEAST CORNER OF A 2.3468
ACRE PARCEL CONVEYED BY LINCOLN NATIONAL LIFE INSURANCE COMPANY TO
RED LION HOTELS, INC. IN A DEED RECORDED IN HCCF NO. 5056346 AND THE
SOUTHWEST CORNER OF A 3.4385 ACRE PARCEL CONVEYED BY HARVEY R. HOUCK,
JR. TO RESTPROP, LTD IN A DEED RECORDED IN HCCF NO. R228886;

THENCE ALONG THE NORTHERLY RIGHT OF WAY LINE OF WESTHEIMER ROAD,
SOUTH 86 DEGREES 46 MINUTES 52 SECONDS WEST, A DISTANCE OF 16.00 FEET TO
THE SOUTHEAST CORNER OF SAID EASEMENT AND THE HEREIN DESCRIBED
TRACT;

THENCE CONTINUING ALONG THE NORTHERLY LINE OF WESTHEIMER ROAD,
SOUTH 86 DEGREES 46 MINUTES 52 SECONDS WEST A DISTANCE OF 5.00 FEET, THE
SOUTHWEST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE DEPARTING SAID WESTHEIMER ROAD, NORTH 02 DEGREES 23 MINUTES 52
SECONDS WEST, A DISTANCE OF 204.96 FEET, TO A POINT IN THE SOUTHERLY LINE
OF A 2.4462 ACRE TRACT CONVEYED BY DEED TO HE 2425 WEST LOOP, LP
RECORDED UNDER HARRIS COUNTY CLERK'S FILE NO. 20070732472;

THENCE ALONG THE SOUTHERLY LINE OF SAID 2.4462 ACRE TRACT, NORTH 87
DEGREES 44 MINUTES 46 SECONDS EAST A DISTANCE OF 5.00 FEET TO THE
NORTHEAST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE DEPARTING THE SOUTHERLY LINE OF SAID 2.4462 ACRE TRACT, SOUTH 02
DEGREES 23 MINUTES 52 SECONDS EAST, A DISTANCE OF 204.88 FEET TO THE POINT
OF BEGINNING AND CONTAINING 1,025 SQUARE FEET OF LAND, MORE OR LESS.




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                                             EXHIBIT B

                                          FORM OF DEED

AFTER RECORDING RETURN TO:




     NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON,
YOU MAY REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION
FROM ANY INSTRUMENT THAT TRANSFERS AN INTEREST IN REAL PROPERTY
BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL
SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER.


                                    SPECIAL WARRANTY DEED


STATE OF TEXAS                  §
                                §               KNOW ALL MEN BY THESE PRESENTS:
COUNTY OF HARRIS                §

        That GALLERIA 2425 OWNER, LLC, a Delaware limited liability company (“Grantor”),
by and through Christopher R. Murray, the chapter 11 trustee appointed in Case No. 23-34815-JPN
in the U.S. Bankruptcy Court for the Southern District of Texas, Houston Division, for and in
consideration of the sum of TEN AND NO/100 DOLLARS ($10.00) and other good and valuable
consideration to it paid by QB LOOP PROPERTY LP, a Texas limited partnership (“Grantee”),
the receipt and sufficiency of which are hereby acknowledged and confessed by Grantor, has
GRANTED, BARGAINED, SOLD and CONVEYED, and by these presents does hereby
GRANT, BARGAIN, SELL and CONVEY unto Grantee the tracts of land lying and being situated
in Harris County, Texas, as more particularly described on Exhibit “1” attached hereto and
incorporated herein for all purposes (the “Land”), together with (a) all buildings, structures,
fixtures and improvements situated on, in or under the Land (the “Improvements”), and (b) all of
Grantor’s right, title and interest in and to the appurtenances pertaining to the Land (hereinafter
collectively referred to as the “Appurtenant Property”), including, but not limited to, all right, title
and interest of Grantor in and to adjacent roads, rights-of-way, alleys, drainage facilities,
easements and utility facilities and strips and gores between the described Land and abutting
properties, if any. The Land, Improvements, and Appurtenant Property are sometimes hereinafter
referred to as the “Property”.

        This conveyance is made and accepted free and clear of all liens, claims, encumbrances,
and interests pursuant to that certain “Sale Order” dated          , 2024, and entered as Docket
No.            in Case No. 23-34815-JPN in the U.S. Bankruptcy Court for the Southern District
of Texas, Houston Division, and is subject to the exceptions set forth on Exhibit “2”, attached
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hereto and made a part hereof for all purposes (the “Permitted Exceptions”).




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        TO HAVE AND TO HOLD THE PROPERTY, together with all and singular the rights
and appurtenances belonging in any way to the Property, subject to the provisions stated herein, to
Grantee, Grantee’s successors and assigns forever, and Grantor binds itself and its legal
representatives and successors TO WARRANT AND FOREVER DEFEND all and singular the
Property to Grantee and Grantee’s successors and assigns against every person lawfully claiming
or to claim all or any part of the Property by, through, or under Grantor, but not otherwise.

     AS A MATERIAL PART OF THE CONSIDERATION FOR THIS DEED,
GRANTEE ACKNOWLEDGES AND AGREES THAT: (i) GRANTEE HAS
CONDUCTED ITS OWN INDEPENDENT INVESTIGATION AND INSPECTION OF
ALL ASPECTS OF THE PROPERTY, (ii) OTHER THAN AS EXPRESSLY SET OUT
HEREIN OR IN THAT CERTAIN ASSET PURCHASE AGREEMENT DATED
JUNE    , 2024, BY AND BETWEEN GRANTOR AND GRANTEE (“PURCHASE
AGREEMENT”), GRANTEE IS NOT RELYING ON ANY REPRESENTATIONS OR
STATEMENTS OF GRANTOR OR ITS AGENTS, (iii) GRANTEE IS RELYING ON
SUCH INDEPENDENT INVESTIGATION AND INSPECTION AND IS NOT RELYING
ON ANY INFORMATION PROVIDED BY GRANTOR, GRANTOR’S ENGINEERS, OR
THE BROKERS IN DETERMINING WHETHER TO PURCHASE THE PROPERTY, (iv)
CERTAIN INFORMATION PROVIDED BY GRANTOR TO GRANTEE WITH
RESPECT TO THE PROPERTY HAS BEEN OBTAINED FROM A VARIETY OF
SOURCES AND THAT GRANTOR HAS NOT MADE ANY INDEPENDENT
INVESTIGATION OR VERIFICATION OF SUCH INFORMATION, (v) GRANTEE IS
FULLY AND COMPLETELY SATISFIED THAT THE PROPERTY IS SATISFACTORY
IN ALL RESPECTS FOR GRANTEE’S INTENDED USE AND (vi) GRANTEE HAS NO
RECOURSE WHATSOEVER AGAINST GRANTOR OR THE BROKER IN
CONNECTION WITH THE PROPERTY OTHER THAN FOR ANY VIOLATIONS AS
TO THE WARRANTIES AND COVENANTS OF GRANTOR CONTAINED HEREIN OR
IN THE PURCHASE AGREEMENT.

      AS A MATERIAL PART OF THE CONSIDERATION FOR THIS DEED,
GRANTEE ACKNOWLEDGES AND AGREES THAT: (i) EXCEPT FOR THE SPECIAL
WARRANTY SET OUT HEREIN OR THE EXPRESS REPRESENTATIONS SET OUT
IN THE PURCHASE AGREEMENT, GRANTOR HAS NOT MADE, DOES NOT MAKE,
AND SPECIFICALLY DISCLAIMS ANY AND ALL REPRESENTATIONS,
WARRANTIES, PROMISES, COVENANTS, AGREEMENTS, OR GUARANTIES OF
ANY KIND OR CHARACTER WHATSOEVER, WHETHER EXPRESS OR IMPLIED,
ORAL OR WRITTEN, PAST, PRESENT, OR FUTURE, OF, AS TO, CONCERNING OR
WITH RESPECT TO THE PROPERTY, INCLUDING BUT NOT LIMITED TO: (A) THE
NATURE, QUALITY, OR CONDITION OF THE PROPERTY, (B) THE INCOME TO BE
DERIVED FROM THE PROPERTY; (C) THE SUITABILITY OF THE PROPERTY FOR
ANY AND ALL ACTIVITIES AND USES WHICH GRANTEE MAY CONDUCT
THEREON IN THE FUTURE; (D) THE COMPLIANCE OF OR BY THE PROPERTY OR
ITS OPERATION WITH ANY LAWS, RULES, ORDINANCES OR REGULATIONS OF
ANY APPLICABLE GOVERNMENTAL AUTHORITY OR BODY, INCLUDING, BUT
NOT LIMITED TO, ANY STATE OR FEDERAL ENVIRONMENTAL LAW, RULE OR
REGULATION; (E)THE HABITABILITY, MERCHANTABILITY, OR FITNESS OF
THE PROPERTY FOR A PARTICULAR PURPOSE; OR (F) ANY OTHER MATTER

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WITH RESPECT TO THE PROPERTY (COLLECTIVELY, THE “DISCLAIMED
MATTERS”). GRANTEE HEREBY WAIVES ANY SUCH OTHER REPRESENTATION,
WARRANTY, PROMISES, COVENANTS, AGREEMENTS, OR GUARANTIES.

    AS A MATERIAL PART OF THE CONSIDERATION FOR THIS DEED,
GRANTEE ACKNOWLEDGES AND AGREES THAT EXCEPT FOR THE SPECIAL
WARRANTY CONTAINED HEREIN OR AS EXPRESSLY SET OUT IN THE
PURCHASE AGREEMENT, GRANTOR IS CONVEYING THE PROPERTY TO
GRANTEE “AS IS”, “WHERE IS”, AND WITH ALL FAULTS AND SPECIFICALLY
AND EXPRESSLY WITHOUT ANY WARRANTIES, REPRESENTATIONS, OR
GUARANTEES, EITHER EXPRESS OR IMPLIED, OF ANY KIND, NATURE, OR TYPE
WHATSOEVER FROM OR ON BEHALF OF THE GRANTOR.

     WITHOUT IN ANY WAY LIMITING ANY PROVISION OF THE FOREGOING,
GRANTEE SPECIFICALLY ACKNOWLEDGES AND AGREES THAT IT HEREBY
WAIVES, RELEASES AND DISCHARGES ANY CLAIM IT HAS, MIGHT HAVE HAD
OR MAY HAVE AGAINST GRANTOR AND GRANTOR’S PARTNERS, OFFICERS
AND AGENTS WITH RESPECT TO (i) THE DISCLAIMED MATTERS, (ii) THE
CONDITION OF THE PROPERTY, EITHER PATENT OR LATENT, (iii) THE PAST,
PRESENT OR FUTURE CONDITION OR COMPLIANCE OF THE PROPERTY WITH
REGARD TO ANY ENVIRONMENTAL PROTECTION, POLLUTION CONTROL OR
LAND USE LAWS, RULES, REGULATIONS, ORDERS OR REQUIREMENTS,
INCLUDING, WITHOUT LIMITATION, THE COMPREHENSIVE ENVIRONMENTAL
RESPONSE, COMPENSATION AND LIABILITY ACT OF 1980 (HEREIN CALLED
“CERCLA”), AND (iv) ANY OTHER STATE OF FACTS THAT EXISTS WITH
RESPECT TO THE PROPERTY; PROVIDED, HOWEVER, THE FOREGOING
WAIVER, RELEASE AND DISCHARGE DOES NOT WAIVE, RELEASE, OR
DISCHARGE ANY CLAIM GRANTEE MAY HAVE AGAINST GRANTOR UNDER THE
SPECIAL WARRANTY SET FORTH IN THIS DEED OR FOR BREACH OF THE
EXPRESS REPRESENTATIONS (DURING THE PERIOD FOR WHICH SUCH
EXPRESS REPRESENTATIONS SURVIVE) SET FORTH IN THE PURCHASE
AGREEMENT.

       Current ad valorem taxes, assessments and fees relating to or pertaining to the Property,
having been prorated to the date hereof, the payment thereof is hereby assumed by Grantee.

       The mailing address of Grantee is set forth below:

     QB Loop Property LP
     1535 West Loop South, Suite 100
     Houston, Texas 77028
     Attn: Mr. Anwar-i-Qadeer



                          [Signatures Appear on the Following Page]


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  IN WITNESS WHEREOF, Grantor has caused this Deed to be executed on this          day of
            , 2024.

                                            GRANTOR:

                                            GALLERIA 2425 OWNER, LLC,
                                            a Delaware limited liability company


                                            By:
                                                    Christopher R. Murray
                                                    Chapter 11 Trustee



STATE OF TEXAS               §
                             §
COUNTY OF _________          §

  The foregoing was acknowledged before me on the             day of               , 2024,
by CHRISTOPHER R. MURRAY, Chapter 11 Trustee of Galleria 2425 Owner, LLC, a Delaware
limited liability company, on behalf of such company in such capacity.




                                     Notary Public, State of Texas




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                              EXHIBIT “1”

                         LEGAL DESCRIPTION


                             [To Be Inserted]




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                              EXHIBIT “2”

                       PERMITTED EXCEPTIONS



                             [To Be Inserted]




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                                            EXHIBIT C

     SELLER’S FIRPTA AFFIDAVIT - CERTIFICATION OF NON-FOREIGN STATUS

        Section 1445 of the Internal Revenue Code provides that a transferee of a U.S. real property
interest must withhold tax if the transferor is a foreign person. To inform the transferee that
withholding of tax is not required upon the disposition of a U.S. real property interest by
Christopher R. Murray in his capacity as the duly appointed Chapter 11 Trustee of Galleria 2425
Owner, LLC, a Delaware limited liability company (“Transferor”), the undersigned hereby
certifies the following on behalf of Transferor:

1.      Transferor is not a foreign corporation, foreign partnership, foreign trust and foreign estate
(as those terms are defined in the Internal Revenue Code and Income Tax Regulations);

2.     Transferor’s U.S. employer identification number (EIN) is [●]; and

3.     Transferor’s office address is:

               [●]
               [●]
               [●]

       Transferor understands that this certification may be disclosed to the Internal Revenue
Service by transferee and that any false statement contained herein could be punished by fine,
imprisonment or both.

        Under penalties of perjury I declare that I have examined this certification and to the best
of my knowledge and belief it is true, correct and complete, and I further declare that I have
authority to sign the document on behalf of the Transferor.

                                               Christopher R. Murray, in his capacity as the
                                               Chapter 11 Trustee of Galleria 2425 Owner, LLC

                                               By:
                                               Name: Christopher R. Murray
                                               Title: Chapter 11 Trustee




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                                                EXHIBIT D

                                            BILL OF SALE

         For good and valuable consideration, the receipt of which is hereby acknowledged,
Christopher R. Murray in his capacity as the duly appointed Chapter 11 Trustee of Galleria 2425
Owner, LLC, a Delaware limited liability company (“Seller”), does hereby sell, transfer, and
convey to QB Loop Property LP, a Texas limited partnership (“Buyer”): all Personal Property as such
term is defined in that certain Asset Purchase Agreement, dated ____________, 2024, between the Seller and
Buyer, including all personal property of Seller, if any, located on and used in connection with the
operation of the improvements on the real property located at 2425 West Loop South, Houston,
Texas 77027, as more particularly described on Exhibit A attached hereto.

       Buyer accepts such personal property in its “AS-IS,” “WHERE-IS” condition and “WITH
ALL FAULTS”. Seller specifically disclaims all express or implied warranties regarding the
existence or condition of, or title to, such personal property, including without limitation the
implied warranties of merchantability and suitability for a particular purpose.

        This Bill of Sale may be signed in counterparts, each of which shall be deemed to be an
original but all of which shall constitute one and the same document. A signed copy or facsimile
of this Bill of Sale shall have the same force and effect as that of an original.

        Date:                          , 2024

 SELLER                                               BUYER

 Christopher R. Murray as the Chapter 11              QB loop Property LP
 Trustee of Galleria 2425 Owner, LLC                  By Its General Partner:
                                                      QB Loop Property GP LLC

 By:                                                  By:
 Name: Christopher Murray                             Name: Anwar-i-Qadeer
 Title: Chapter 11 Trustee                            Title: Manager




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                      EXHIBIT A TO BILL OF SALE

                            Personal Property



                             [To Be Inserted]




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                                            EXHIBIT E

                               ASSIGNMENT AND ASSUMPTION

         FOR VALUABLE CONSIDERATION, receipt of which is hereby acknowledged,
 Christopher R. Murray in his capacity as the duly appointed Chapter 11 Trustee of Galleria 2425
 Owner, LLC, a Delaware limited liability company (herein referred to as “Assignor”), hereby
 assigns, transfers and conveys to QB Loop Property LP, a Texas limited liability company (herein
 referred to as “Assignee”), all leases (the “Leases”) described on Schedule 1 attached and all
 contracts (the “Contracts”) described on Schedule 2, and the permits (the “Permits”) described on
 Schedule 3 attached affecting that certain real property in the City of Houston, Harris County, State
 of Texas (the “Property”), commonly known as 2425 West Loop South, Houston, Texas 77027
 and more particularly described in Exhibit A attached hereto.

       Assignee hereby assumes and agrees to keep, perform and fulfill all of Assignor’s obligations
under the Leases and under the Contracts which are required to be kept, performed and fulfilled by
Assignor thereunder, effective from and after the date on which a deed of the Property from Assignor
to Assignee is delivered (the “Closing Date”).

         The covenants and warranties contained herein shall survive the closing of the purchase
 and sale of the Property to which this Assignment relates, and such covenants and warranties shall
 not be deemed merged in the deed delivered by Assignor to Assignee.

         This Assignment And Assumption shall be binding on and inure to the benefit of the parties
 hereto, their heirs, executors, administrators, successors in interest and assigns. This Assignment
 And Assumption may be executed in counterparts, each of which shall be deemed to be an original
 but all of which shall constitute one and the same document. A copy of facsimile of this
 Assignment And Assumption shall have the same force and effect as that of an original.

         IN WITNESS WHEREOF, the undersigned have executed the within instrument as of
                          , 2024.

                                               ASSIGNOR:

                                               Christopher R. Murray as the Chapter 11 Trustee of
                                               Galleria 2425 Owner, LLC,


                                               By:
                                               Name: Christopher R. Murray
                                               Title: Chapter 11 Trustee




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                                ASSIGNEE:

                                 QB Loop Property LP
                                 By Its General Partner:
                                 QB Loop Property GP LLC


                                 By:
                                 Name: Anwar-i-Qadeer
                                 Its:  Manager




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            EXHIBIT A TO ASSIGNMENT AND ASSUMPTION

                  LEGAL DESCRIPTION OF PROPERTY



                             [To Be Inserted]




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                            EXHIBIT E – SCHEDULE 1

                                          LEASES

    No.   Counterparty                             Lease Description
     1    Bankable Equity, LLC                     Commercial Lease
     2    Boho Lounge                              Commercial Lease
     3    Eyebrows 4UTX, LLC                       Commercial Lease
     4    G3 Global Services, LLC fka              Commercial Lease
          G3 Visas & Passports
     5    Galloworks LP                            Commercial Lease (4th Floor)
     6    Galloworks LP                            Commercial Lease (4th Floor)
     7    Immigration Processing Services          Commercial Lease
     8    Kudrath Enterprises, PLLC                Commercial Lease
     9    Nationwide Investigations &              Commercial Lease
          Security, Inc.
    10    Nichamoff Operating Company,             Commercial Lease
          LLC
    11    Shah Sloan LLC                           Commercial Lease
    12    SIBS International Inc.                  Commercial Lease
    13    SprintCom, Inc.                          Telecom Lease
    14    St Christopher Holdings, Ltd.            Commercial Lease
    15    St Christopher Holdings GP LLC           Commercial Lease
    16    Texas Ultherapy, LLC                     Commercial Lease
    17    Uptown Cosmetic and Implant              Commercial Lease
          Dentistry & Dr. Robert Velasco,
          DDS
    18    VFS Global Services                      Commercial Lease
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                         EXHIBIT E – SCHEDULE 2

                                  CONTRACTS

    No.   Counterparty                   Contract Description
     1    CNA Insurance Company          Business Property Insurance
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                         EXHIBIT E – SCHEDULE 3

                                PERMITS

    No.   Counterparty                 Permit Description
